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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

TROJAN BATTERY COMPANY LLC,                            )
    Plaintiff,                                         )
                                                       )
v.                                                     )      Civil Action No. 4:21-cv-03075
                                                       )
TROJAN EV LLC and GOLF CARTS                           )
OF CYPRESS LLC,                                        )
                                                       )
        Defendant.                                     )


                          DECLARATION OF SIMON J. HARRALL

        I, Simon J. Harrall, declare as follows:

        1.     I am employed as an attorney in the Houston office of Patterson + Sheridan LLP

(“Patterson + Sheridan”), which is located at 24 Greenway Plaza, Houston, Texas 77046. I am

over twenty-one years of age, and I am fully competent to make this declaration. The facts set

forth in this declaration are based on my personal knowledge, and these facts are true and

correct. If called upon to testify, I could and would competently testify to these facts.

        2.     On November 8, 2022, I used the Google Chrome browser on my work computer

to access via the internet certain pages of the website of the United States Patent and Trademark

Office (“USPTO,” https://www.uspto.gov/) concerning the Nice Classification of goods and

services applied for the registration of marks.

        3.     I printed electronic PDF copies of these USPTO website pages.

        4.     On November 8, 2022, I used the Google Chrome browser on my work computer

to access via the internet certain pages of the website of the World Intellectual Property

Organization (“WIPO,” https://www.wipo.int/portal/en/) concerning the Nice Classification of

                                                              Trojan EV & GCC

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goods        and     services    applied    for    the    registration   of    marks     (“NCL,”

https://www.wipo.int/classifications/nice/en/).

        5.         Via a link on each WIPO website page, I accessed and downloaded electronic

PDF documents containing the information displayed on each page.

        6.         I have reviewed Exhibits 1-2 to this declaration, and they are true and correct

copies of the following electronic PDF copies I printed of the following pages from the USPTO

website (with Bates numbers added):

        a.         Exhibit 1 (TROJAN EV001904 – EV001939):
                   A true and correct copy of the USPTO’s website page concerning the Nice
                   Agreement Eleventh Edition version 2021 – general remarks, class headings and
                   explanatory notes as of November 8, 2022;
                   https://www.uspto.gov/trademarks/trademark-updates-and-announcements/nice-
                   agreement-eleventh-edition-version-2021-general

        b.         Exhibit 2 (TROJAN EV001940 – EV001975):
                   A true and correct copy of the USPTO’s website page concerning the Nice
                   Agreement current edition version – general remarks, class headings and
                   explanatory notes as of November 8, 2022;
                   https://www.uspto.gov/trademarks/trademark-updates-and-announcements/nice-
                   agreement-current-edition-version-general-remarks

        7.         I have reviewed Exhibits 3-4 to this declaration, and they are true and correct

copies of the following electronic PDF documents I accessed and downloaded from the

following pages of the WIPO website (with Bates numbers added):

        c.         Exhibit 3 (TROJAN EV001976 – EV001986):
                   A true and correct copy of the explanatory note concerning Class 12 of the Nice
                   Classification, 11th edition, version 2021 as of November 8, 2022, accessed and
                   downloaded using the following link:
                   https://www.wipo.int/classifications/nice/nclpub/en/fr/pdf-
                   download.pdf?lang=en&tab=&viewMode=flat&dateInForce=20210101&classNu
                   mber=12;
                   the above link being accessed via the following web page:
                   https://www.wipo.int/classifications/nice/nclpub/en/fr/?basic_numbers=show&cla
                   ss_number=12&explanatory_notes=show&lang=en&menulang=en&mode=flat&
                   notion=&pagination=no&version=20210101




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       d.      Exhibit 4 (TROJAN EV001987 – EV001997):
               A true and correct copy of the explanatory note concerning Class 12 of the Nice
               Classification, 11th edition, version 2022 as of November 8, 2022, accessed and
               downloaded using the following link:
               https://www.wipo.int/classifications/nice/nclpub/en/fr/pdf-
               download.pdf?lang=en&tab=&viewMode=flat&dateInForce=20220101&classNu
               mber=12;
               the above link being accessed via the following web page:
               https://www.wipo.int/classifications/nice/nclpub/en/fr/?basic numbers=show&cla
               ss number=12&explanatory notes=show&lang=en&menulang=en&mode=flat&
               notion=&pagination=no&version=20220101



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed this 11th day of November, 2022.



                                                                /s/ Simon J. Harrall
                                                                  Simon J. Harrall




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                           EXHIBIT 1
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  Nice Agreement Eleventh Edition version
  2021 general remarks, class headings
  and explanatory notes
  International trademark classification, and the headings of the international trademark classes, are established by the
  Committee of Experts of the Nice Union and set forth in the International Classification of Goods and Services for the
  Purposes of the Registration of Marks (Nice Classification), published by the World Intellectual Property Organization
  (“WIPO”). The general remarks, class numbers, class headings, and explanatory notes for each international trademark
  class are as follows.

  The International Classification is available on the WIPO website
  (http://www.wipo.int/classifications/nice/en/). However, because the international list was developed to classify
  goods and services and not to identify specific goods and services, most terms will not be sufficiently definite to use
  in an identification of goods and/or services. On January 1, 2021, the Nice Classification, Eleventh Edition, version
  2021 (NCL 11-2021), became effective. To see a comprehensive list of all the new or changed U.S. ID Manual terms,
  on or after January 1, 2021, please conduct an advanced search in the Trademark ID Manual
  (https://tmidm.uspto.gov/id-master-list-public.html) using the exact date (“=” sign in the “Effective Date” dropdown
  menu) of January 1, 2021.


  General remarks
  The indications of goods or services appearing in the class headings are general indications relating to the fields to
  which, in principle, the goods or services belong. The Alphabetical List should therefore be consulted in order to
  ascertain the exact classification of each individual product or service.

  Goods
  If a product cannot be classified with the aid of the List of Classes, the Explanatory Notes and the Alphabetical List,
  the following remarks set forth the criteria to be applied:

  (a) A finished product is in principle classified according to its function or purpose. If the function or purpose of a
  finished product is not mentioned in any class heading, the finished product is classified by analogy with other
  comparable finished products, indicated in the Alphabetical List. If none is found, other subsidiary criteria, such as
  that of the material of which the product is made or its mode of operation, are applied.

  (b) A finished product which is a multipurpose composite object (e.g., clocks incorporating radios) may be classified
  in all classes that correspond to any of its functions or intended purposes. If those functions or purposes are not
  mentioned in any class heading, other criteria, indicated under (a), above, are to be applied.

  (c) Raw materials, unworked or semi-worked, are in principle classified according to the material of which they
  consist.



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  (d) Goods intended to form part of another product are in principle classified in the same class as that product only
  in cases where the same type of goods cannot normally be used for another purpose. In all other cases, the criterion
  indicated under (a), above, applies.

  (e) When a product, whether finished or not, is classified according to the material of which it is made, and it is made
  of different materials, the product is in principle classified according to the material which predominates.

  (f) Cases adapted to the product they are intended to contain are in principle classified in the same class as the
  product.

  Services
  If a service cannot be classified with the aid of the List of Classes, the Explanatory Notes and the Alphabetical List, the
  following remarks set forth the criteria to be applied:

  (a) Services are in principle classified according to the branches of activities specified in the headings of the service
  classes and in their Explanatory Notes or, if not specified, by analogy with other comparable services indicated in the
  Alphabetical List.

  (b) Rental services are in principle classified in the same classes as the services provided by means of the rented
  objects (e.g., Rental of telephones, covered by Cl. 38). Leasing services are analogous to rental services and therefore
  should be classified in the same way. However, hire- or lease-purchase financing is classified in Cl. 36 as a financial
  service.

  (c) Services that provide advice, information or consultation are in principle classified in the same classes as the
  services that correspond to the subject matter of the advice, information or consultation, e.g., transportation
  consultancy (Cl. 39), business management consultancy (Cl. 35), financial consultancy (Cl. 36), beauty consultancy (Cl.
  44). The rendering of the advice, information or consultancy by electronic means (e.g., telephone, computer) does not
  affect the classification of these services.

  (d) Services rendered in the framework of franchising are in principle classified in the same class as the particular
  services provided by the franchisor (e.g., business advice relating to franchising (Cl. 35), financing services relating to
  franchising (Cl. 36), legal services relating to franchising (Cl. 45).




  Class headings with explanatory notes

  Class 1
  Chemicals for use in industry, science and photography, as well as in agriculture, horticulture and forestry;
  unprocessed artificial resins, unprocessed plastics;
  fire extinguishing and fire prevention compositions;
  tempering and soldering preparations;
  substances for tanning animal skins and hides;
  adhesives for use in industry;
  putties and other paste fillers;
  compost, manures, fertilizers;
  biological preparations for use in industry and science.

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  Explanatory note
  Class 1 includes mainly chemical products for use in industry, science and agriculture, including those which go to
  the making of products belonging to other classes.

  This Class includes, in particular:

      sensitized paper;
      tyre repairing compositions;
      salt for preserving, other than for foodstuffs;
      certain additives for use in the food industry, for example, pectin, lecithin, enzymes and chemical preservatives;
      certain ingredients for use in the manufacture of cosmetics and pharmaceuticals, for example, vitamins,
      preservatives and antioxidants;
      certain filtering materials, for example, mineral substances, vegetable substances and ceramic materials in
      particulate form.

  This Class does not include, in particular:

      raw natural resins (Cl. 2), semi-processed resins (Cl. 17);
      chemical preparations for medical or veterinary purposes (Cl. 5);
      fungicides, herbicides and preparations for destroying vermin (Cl. 5);
      adhesives for stationery or household purposes (Cl. 16);
      salt for preserving foodstuffs (Cl. 30);
      straw mulch (Cl. 31).



  Class 2
  Paints, varnishes, lacquers;
  preservatives against rust and against deterioration of wood;
  colorants, dyes;
  inks for printing, marking and engraving;
  raw natural resins;
  metals in foil and powder form for use in painting, decorating, printing and art.

  Explanatory note
  Class 2 includes mainly paints, colorants and preparations used for protection against corrosion.

  This Class includes, in particular:

      paints, varnishes and lacquers for industry, handicrafts and arts;
      thinners, thickeners, fixatives and siccatives for paints, varnishes and lacquers;
      mordants for wood and leather;
      anti-rust oils and oils for the preservation of wood;
      dyestuffs for clothing;
      colorants for foodstuffs and beverages.

  This Class does not include, in particular:

      unprocessed artificial resins (Cl. 1), semi-processed resins (Cl. 17);

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      mordants for metals (Cl. 1);
      laundry blueing (Cl. 3);
      cosmetic dyes (Cl. 3);
      paint boxes (articles for use in school) (Cl. 16);
      inks for stationery purposes (Cl. 16);
      insulating paints and varnishes (Cl. 17).



  Class 3
  Non-medicated cosmetics and toiletry preparations;
  non-medicated dentifrices;
  perfumery, essential oils;
  bleaching preparations and other substances for laundry use;
  cleaning, polishing, scouring and abrasive preparations.

  Explanatory note
  Class 3 includes mainly non-medicated toiletry preparations, as well as cleaning preparations for use in the home and
  other environments.

  This Class includes, in particular:

      sanitary preparations being toiletries;
      tissues impregnated with cosmetic lotions;
      deodorants for human beings or for animals;
      room fragrancing preparations;
      nail art stickers;
      polishing wax;
      sandpaper.

  This Class does not include, in particular:

      ingredients for use in the manufacture of cosmetics, for example, vitamins, preservatives and antioxidants (Cl. 1);
      degreasing preparations for use in manufacturing processes (Cl. 1);
      chemical chimney cleaners (Cl. 1);
      deodorants, other than for human beings or for animals (Cl. 5);
      medicated shampoos, soaps, lotions and dentifrices (Cl. 5);
      emery boards, emery files, sharpening stones and grindstones (hand tools) (Cl. 8);
      cosmetic and cleaning instruments, for example, make-up brushes (Cl. 21), cloths, pads and rags for cleaning
      (Cl. 21).



  Class 4
  Industrial oils and greases, wax;
  lubricants;
  dust absorbing, wetting and binding compositions;
  fuels and illuminants;
  candles and wicks for lighting.

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  Explanatory note
  Class 4 includes mainly industrial oils and greases, fuels and illuminants.

  This Class includes, in particular:

      oils for the preservation of masonry or of leather;
      raw wax, industrial wax;
      electrical energy;
      motor fuels, biofuels;
      non-chemical additives for fuels;
      wood for use as fuel.

  This Class does not include, in particular:

      certain special industrial oils and greases, for example, oils for tanning leather (Cl. 1), oils for the preservation of
      wood, anti-rust oils and greases (Cl. 2), essential oils (Cl. 3);
      massage candles for cosmetic purposes (Cl. 3) and medicated massage candles (Cl. 5);
      certain special waxes, for example, grafting wax for trees (Cl. 1), tailors’ wax, polishing wax, depilatory wax (Cl. 3),
      dental wax (Cl. 5), sealing wax (Cl. 16);
      wicks adapted for oil stoves (Cl. 11) and for cigarette lighters (Cl. 34).



  Class 5
  Pharmaceuticals, medical and veterinary preparations;
  sanitary preparations for medical purposes;
  dietetic food and substances adapted for medical or veterinary use, food for babies;
  dietary supplements for human beings and animals;
  plasters, materials for dressings;
  material for stopping teeth, dental wax;
  disinfectants;
  preparations for destroying vermin;
  fungicides, herbicides.

  Explanatory note
  Class 5 includes mainly pharmaceuticals and other preparations for medical or veterinary purposes.

  This Class includes, in particular:

      sanitary preparations for personal hygiene, other than toiletries;
      diapers for babies and for incontinence;
      deodorants, other than for human beings or for animals;
      medicated shampoos, soaps, lotions and dentifrices;
      dietary supplements intended to supplement a normal diet or to have health benefits;
      meal replacements and dietetic food and beverages adapted for medical or veterinary use.

  This Class does not include, in particular:




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      ingredients for use in the manufacture of pharmaceuticals, for example, vitamins, preservatives and antioxidants
      (Cl. 1);
      sanitary preparations being non-medicated toiletries (Cl. 3);
      deodorants for human beings or for animals (Cl. 3);
      support bandages, orthopaedic bandages (Cl. 10);
      meal replacements and dietetic food and beverages not specified as being for medical or veterinary use, which
      should be classified in the appropriate food or beverage classes, for example, low-fat potato crisps (Cl. 29), high-
      protein cereal bars (Cl. 30), isotonic beverages (Cl. 32).



  Class 6
  Common metals and their alloys, ores;
  metal materials for building and construction;
  transportable buildings of metal;
  non-electric cables and wires of common metal;
  small items of metal hardware;
  metal containers for storage or transport;
  safes.

  Explanatory note
  Class 6 includes mainly unwrought and partly wrought common metals, including ores, as well as certain goods made
  of common metals.

  This Class includes, in particular:

      metals in foil or powder form for further processing, for example, for 3D printers;
      metal building materials, for example, materials of metal for railway tracks, pipes and tubes of metal;
      small items of metal hardware, for example, bolts, screws, nails, furniture casters, window fasteners;
      transportable buildings or structures of metal, for example, prefabricated houses, swimming pools, cages for wild
      animals, skating rinks;
      certain goods made of common metals not otherwise classified by function or purpose, for example, all-purpose
      boxes of common metal, statues, busts and works of art of common metal.

  This Class does not include, in particular:

      metals and ores used as chemicals in industry or scientific research for their chemical properties, for example,
      bauxite, mercury, antimony, alkaline and alkaline-earth metals (Cl. 1);
      metals in foil and powder form for use in painting, decorating, printing and art (Cl. 2);
      electric cables (Cl. 9) and non-electric cables and ropes, not of metal (Cl. 22);
      pipes being parts of sanitary installations (Cl. 11), flexible pipes, tubes and hoses, not of metal (Cl. 17) and rigid
      pipes, not of metal (Cl. 19);
      cages for household pets (Cl. 21);
      certain goods made of common metals that are classified according to their function or purpose, for example,
      hand tools, hand-operated (Cl. 8), paper clips (Cl. 16), furniture (Cl. 20), kitchen utensils (Cl. 21), household
      containers (Cl. 21).




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  Class 7
  Machines, machine tools, power-operated tools;
  motors and engines, except for land vehicles;
  machine coupling and transmission components, except for land vehicles;
  agricultural implements, other than hand-operated hand tools;
  incubators for eggs;
  automatic vending machines.

  Explanatory note
  Class 7 includes mainly machines and machine tools, motors and engines.

  This Class includes, in particular:

      parts of motors and engines of all kinds, for example, starters, mufflers and cylinders for motors and engines of
      any type;
      electric cleaning and polishing apparatus, for example, electric shoe polishers, electric machines and apparatus for
      carpet shampooing and vacuum cleaners;
      3D printers;
      industrial robots;
      certain special vehicles not for transportation purposes, for example, road sweeping machines, road making
      machines, bulldozers, snow ploughs, as well as rubber tracks as parts of those vehicles’ crawlers.

  This Class does not include, in particular:

      hand tools and implements, hand-operated (Cl. 8);
      humanoid robots with artificial intelligence, laboratory robots, teaching robots, security surveillance robots (Cl. 9),
      surgical robots (Cl. 10), robotic cars (Cl. 12), robotic drums (Cl. 15), toy robots (Cl. 28);
      motors and engines for land vehicles (Cl. 12);
      treads for vehicles and tractors (Cl. 12);
      certain special machines, for example, automated teller machines (Cl. 9), respirators for artificial respiration
      (Cl. 10), refrigerating apparatus and machines (Cl. 11).



  Class 8
  Hand tools and implements, hand-operated;
  cutlery;
  side arms, except firearms;
  razors.

  Explanatory note
  Class 8 includes mainly hand-operated tools and implements for performing tasks, such as drilling, shaping, cutting
  and piercing.

  This Class includes, in particular:

      hand-operated agricultural, gardening and landscaping tools;
      hand-operated tools for carpenters, artists and other craftspersons, for example, hammers, chisels and gravers;
      handles for hand-operated hand tools, such as knives and scythes;
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      electric and non-electric hand implements for personal grooming and body art, for example, razors, implements
      for hair curling, tattooing, and for manicure and pedicure;
      hand-operated pumps;
      table cutlery, such as knives, forks and spoons, including those made of precious metals.

  This Class does not include, in particular:

      machine tools and implements driven by a motor (Cl. 7);
      surgical cutlery (Cl. 10);
      pumps for bicycle tyres (Cl. 12), pumps specially adapted for use with balls for games (Cl. 28);
      side arms being firearms (Cl. 13);
      paper knives and paper shredders for office use (Cl. 16);
      handles for objects that are classified in various classes according to their function or purpose, for example,
      walking stick handles, umbrella handles (Cl. 18), broom handles (Cl. 21);
      serving utensils, for example, sugar tongs, ice tongs, pie servers and serving ladles, and kitchen utensils, for
      example, mixing spoons, pestles and mortars, nutcrackers and spatulas (Cl. 21);
      fencing weapons (Cl. 28).



  Class 9
  Scientific, research, navigation, surveying, photographic, cinematographic, audiovisual, optical, weighing, measuring,
  signalling, detecting, testing, inspecting, life-saving and teaching apparatus and instruments;
  apparatus and instruments for conducting, switching, transforming, accumulating, regulating or controlling the
  distribution or use of electricity;
  apparatus and instruments for recording, transmitting, reproducing or processing sound, images or data;
  recorded and downloadable media, computer software, blank digital or analogue recording and storage media;
  mechanisms for coin-operated apparatus;
  cash registers, calculating devices;
  computers and computer peripheral devices;
  diving suits, divers’ masks, ear plugs for divers, nose clips for divers and swimmers, gloves for divers, breathing
  apparatus for underwater swimming;
  fire-extinguishing apparatus.

  Explanatory note
  Class 9 includes mainly apparatus and instruments for scientific or research purposes, audiovisual and information
  technology equipment, as well as safety and life-saving equipment.

  This Class includes, in particular:

      apparatus and instruments for scientific research in laboratories;
      training apparatus and simulators, for example, resuscitation mannequins, simulators for the steering and control
      of vehicles;
      apparatus and instruments for controlling and monitoring aircraft, watercraft and unmanned vehicles, for
      example, navigational instruments, transmitters, compasses for measuring, GPS apparatus, automatic steering
      apparatus for vehicles;
      safety and security apparatus and instruments, for example, safety nets, signalling lights, traffic-light apparatus,
      fire engines, sound alarms, security tokens being encryption devices;

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      clothing that protects against serious or life-threatening injuries, for example, clothing for protection against
      accidents, irradiation and fire, bullet-proof clothing, protective helmets, head guards for sports, mouth guards for
      sports, protective suits for aviators, knee-pads for workers;
      optical apparatus and instruments, for example, eyeglasses, contact lenses, magnifying glasses, mirrors for
      inspecting work, peepholes;
      magnets;
      smartwatches, wearable activity trackers;
      joysticks for use with computers, other than for video games, virtual reality headsets, smartglasses;
      eyeglass cases, cases for smartphones, cases especially made for photographic apparatus and instruments;
      automated teller machines, invoicing machines, material testing instruments and machines;
      batteries and chargers for electronic cigarettes;
      electric and electronic effects units for musical instruments;
      laboratory robots, teaching robots, security surveillance robots, humanoid robots with artificial intelligence.

  This Class does not include, in particular:

      joysticks being parts of machines, other than for game machines (Cl. 7), vehicle joysticks (Cl. 12), joysticks for
      video games, controllers for toys and game consoles (Cl. 28);
      coin-operated apparatus that are classified in various classes according to their function or purpose, for example,
      coin-operated washing machines (Cl. 7), coin‑operated billiard tables (Cl. 28);
      industrial robots (Cl. 7), surgical robots (Cl. 10), toy robots (Cl. 28);
      pulse meters, heart rate monitoring apparatus, body composition monitors (Cl. 10);
      laboratory lamps, laboratory burners (Cl. 11);
      diving lights (Cl. 11);
      explosive fog signals, signal rocket flares (Cl. 13);
      histological sections for teaching purposes, biological samples for use in microscopy as teaching materials (Cl. 16);
      clothing and equipment worn for the practice of certain sports, for example, protective paddings being parts of
      sports suits, fencing masks, boxing gloves (Cl. 28).



  Class 10
  Surgical, medical, dental and veterinary apparatus and instruments;
  artificial limbs, eyes and teeth;
  orthopaedic articles;
  suture materials;
  therapeutic and assistive devices adapted for persons with disabilities;
  massage apparatus;
  apparatus, devices and articles for nursing infants;
  sexual activity apparatus, devices and articles.

  Explanatory note
  Class 10 includes mainly surgical, medical, dental and veterinary apparatus, instruments and articles generally used
  for the diagnosis, treatment or improvement of function or condition of persons and animals.

  This Class includes, in particular:

      support bandages, orthopaedic bandages;

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      special clothing for medical purposes, for example, compression garments, stockings for varices, strait jackets,
      orthopaedic footwear;
      articles, instruments and devices for menstruation, contraception and childbirth, for example, menstrual cups,
      pessaries, condoms, childbirth mattresses, forceps;
      therapeutic and prosthetic articles and devices for implantation made of artificial or synthetic materials, for
      example, surgical implants comprised of artificial materials, artificial breasts, brain pacemakers, biodegradable
      bone fixation implants;
      furniture especially made for medical purposes, for example, armchairs for medical or dental purposes, air
      mattresses for medical purposes, operating tables.

  This Class does not include, in particular:

      medical dressings and absorbent sanitary articles, for example, plasters, bandages and gauze for dressings,
      breast-nursing pads, diapers for babies and for incontinence, tampons (Cl. 5);
      surgical implants comprised of living tissue (Cl. 5);
      tobacco-free cigarettes for medical purposes (Cl. 5) and electronic cigarettes (Cl. 34);
      wheelchairs and mobility scooters (Cl. 12);
      massage tables and hospital beds (Cl. 20).



  Class 11
  Apparatus and installations for lighting, heating, cooling, steam generating, cooking, drying, ventilating, water supply
  and sanitary purposes.

  Explanatory note
  Class 11 includes mainly environmental control apparatus and installations, in particular, for the purposes of lighting,
  cooking, cooling and sanitizing.

  This Class includes, in particular:

      air-conditioning apparatus and installations;
      ovens, other than for laboratory use, for example, dental ovens, microwave ovens, bakers’ ovens;
      stoves being heating apparatus;
      solar thermal collectors;
      chimney flues, chimney blowers, hearths, domestic fireplaces;
      sterilizers, incinerators;
      lighting apparatus and installations, for example, luminous tubes for lighting, searchlights, luminous house
      numbers, vehicle reflectors, lights for vehicles;
      lamps, for example, electric lamps, gas lamps, laboratory lamps, oil lamps, street lamps, safety lamps;
      tanning apparatus being sun beds;
      bath installations, bath fittings, bath plumbing fixtures;
      toilets, urinals;
      fountains, chocolate fountains;
      electrically heated pads, cushions and blankets, not for medical purposes;
      hot water bottles;
      electrically heated clothing;
      electric appliances for making yogurt, bread-making machines, coffee machines, ice-cream making machines;

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      ice machines and apparatus.

  This Class does not include, in particular:

      steam producing apparatus being parts of machines (Cl. 7);
      air condensers (Cl. 7);
      current generators, generators of electricity (Cl. 7);
      soldering lamps (Cl. 7), optical lamps, darkroom lamps (Cl. 9), lamps for medical purposes (Cl. 10);
      ovens for laboratory use (Cl. 9);
      photovoltaic cells (Cl. 9);
      signalling lights (Cl. 9);
      electrically heated pads, cushions and blankets, for medical purposes (Cl. 10);
      portable baby baths (Cl. 21);
      non-electric portable coolers (Cl. 21);
      cooking utensils that do not have an integrated heat source, for example, non-electric griddles and grills, non-
      electric waffle irons, non-electric pressure cookers (Cl. 21);
      footmuffs, not electrically heated (Cl. 25).



  Class 12
  Vehicles;
  apparatus for locomotion by land, air or water.

  Explanatory note
  Class 12 includes mainly vehicles and apparatus for the transport of people or goods by land, air or water.

  This Class includes, in particular:

      motors and engines for land vehicles;
      couplings and transmission components for land vehicles;
      air cushion vehicles;
      remote control vehicles, other than toys;
      parts of vehicles, for example, bumpers, windscreens, steering wheels, tyres for vehicle wheels, as well as treads
      for vehicles.

  This Class does not include, in particular:

      railway material of metal (Cl. 6);
      motors, engines, couplings and transmission components, other than for land vehicles (Cl. 7);
      parts of all kinds of motors and engines, for example, starters, mufflers and cylinders for motors and engines
      (Cl. 7);
      rubber tracks being parts of crawlers on construction, mining, agricultural and other heavy-duty machines (Cl. 7);
      tricycles for infants and scooters, being toys (Cl. 28);
      certain special vehicles or wheeled apparatus not for transportation purposes, for example, self-propelled road
      sweeping machines (Cl. 7), fire engines (Cl. 9), tea carts (Cl. 20);
      certain parts of vehicles, for example, electric batteries, mileage recorders and radios for vehicles (Cl. 9), lights for
      automobiles and bicycles (Cl. 11), automobile carpets (Cl. 27).


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  Class 13
  Firearms;
  ammunition and projectiles;
  explosives;
  fireworks.

  Explanatory note
  Class 13 includes mainly firearms and pyrotechnic products.

  This Class includes, in particular:

      rescue flares, explosive or pyrotechnic;
      flare pistols;
      sprays for personal defence purposes;
      explosive fog signals, signal rocket flares;
      air pistols being weapons;
      bandoliers for weapons;
      sporting firearms, hunting firearms.

  This Class does not include, in particular:

      grease for weapons (Cl. 4);
      blades being weapons (Cl. 8);
      side arms, other than firearms (Cl. 8);
      non-explosive fog signals, rescue laser signalling flares (Cl. 9);
      telescopic sights for firearms (Cl. 9);
      flaming torches (Cl. 11);
      Christmas crackers (Cl. 28);
      percussion caps being toys (Cl. 28);
      toy air pistols (Cl. 28);
      matches (Cl. 34).



  Class 14
  Precious metals and their alloys;
  jewellery, precious and semi-precious stones;
  horological and chronometric instruments.

  Explanatory note
  Class 14 includes mainly precious metals and certain goods made of precious metals or coated therewith, as well as
  jewellery, clocks and watches, and component parts therefor.

  This Class includes, in particular:

      jewellery, including imitation jewellery, for example, paste jewellery;
      cuff links, tie pins, tie clips;
      key rings, key chains and charms therefor;
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      jewellery charms;
      jewellery boxes;
      component parts for jewellery, clocks and watches, for example, clasps and beads for jewellery, movements for
      clocks and watches, clock hands, watch springs, watch crystals.

  This Class does not include, in particular:

      smartwatches (Cl. 9);
      charms, other than for jewellery, key rings or key chains (Cl. 26);
      objects of art not made of precious metals or coated therewith that are classified according to the material of
      which they are made, for example, works of art of metal (Cl. 6), of stone, concrete or marble (Cl. 19), of wood, wax,
      plaster or plastic (Cl. 20), of porcelain, ceramic, earthenware, terra-cotta or glass (Cl. 21);
      certain goods made of precious metals or coated therewith that are classified according to their function or
      purpose, for example, metals in foil and powder form for use in painting, decorating, printing and art (Cl. 2),
      dental amalgams of gold (Cl. 5), cutlery (Cl. 8), electric contacts (Cl. 9), pen nibs of gold (Cl. 16), teapots (Cl. 21),
      gold and silver embroidery (Cl. 26), cigar boxes (Cl. 34).



  Class 15
  Musical instruments;
  music stands and stands for musical instruments;
  conductors’ batons.

  Explanatory note
  Class 15 includes mainly musical instruments, their parts and their accessories.

  This Class includes, in particular:

      mechanical musical instruments and their accessories, for example, barrel organs, mechanical pianos, intensity
      regulators for mechanical pianos, robotic drums;
      musical boxes;
      electrical and electronic musical instruments;
      strings, reeds, pegs and pedals for musical instruments;
      tuning forks, tuning hammers;
      colophony (rosin) for stringed musical instruments.

  This Class does not include, in particular:

      apparatus for the recording, transmission, amplification and reproduction of sound, for example, electric and
      electronic effects units for musical instruments, wah-wah pedals, audio interfaces, audio mixers, equalisers being
      audio apparatus, subwoofers (Cl. 9);
      downloadable music files (Cl. 9);
      downloadable electronic sheet music (Cl. 9), printed sheet music (Cl. 16);
      juke boxes, musical (Cl. 9);
      metronomes (Cl. 9);
      musical greeting cards (Cl. 16).



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  Class 16
  Paper and cardboard;
  printed matter;
  bookbinding material;
  photographs;
  stationery and office requisites, except furniture;
  adhesives for stationery or household purposes;
  drawing materials and materials for artists;
  paintbrushes;
  instructional and teaching materials;
  plastic sheets, films and bags for wrapping and packaging;
  printers’ type, printing blocks.

  Explanatory note
  Class 16 includes mainly paper, cardboard and certain goods made of those materials, as well as office requisites.

  This Class includes, in particular:

      paper knives and paper cutters;
      cases, covers and devices for holding or securing paper, for example, document files, money clips, holders for
      cheque books, paper-clips, passport holders, scrapbooks;
      certain office machines, for example, typewriters, duplicators, franking machines for office use, pencil sharpeners;
      painting articles for use by artists and interior and exterior painters, for example, artists’ watercolour saucers,
      painters’ easels and palettes, paint rollers and trays;
      certain disposable paper products, for example, bibs, handkerchiefs and table linen of paper;
      certain goods made of paper or cardboard not otherwise classified by function or purpose, for example, paper
      bags, envelopes and containers for packaging, statues, figurines and works of art of paper or cardboard, such as
      figurines of papier mâché, framed or unframed lithographs, paintings and watercolours.

  This Class does not include, in particular:

      paints (Cl. 2);
      hand tools for artists, for example, spatulas, sculptors’ chisels (Cl. 8);
      teaching apparatus, for example, audiovisual teaching apparatus, resuscitation mannequins (Cl. 9), and toy models
      (Cl. 28);
      certain goods made of paper or cardboard that are classified according to their function or purpose, for example,
      photographic paper (Cl. 1), abrasive paper (Cl. 3), paper blinds (Cl. 20), table cups and plates of paper (Cl. 21), bed
      linen of paper (Cl. 24), paper clothing (Cl. 25), cigarette paper (Cl. 34).



  Class 17
  Unprocessed and semi-processed rubber, gutta-percha, gum, asbestos, mica and substitutes for all these materials;
  plastics and resins in extruded form for use in manufacture;
  packing, stopping and insulating materials;
  flexible pipes, tubes and hoses, not of metal.

  Explanatory note

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  Class 17 includes mainly electrical, thermal and acoustic insulating materials and plastics for use in manufacture in
  the form of sheets, blocks and rods, as well as certain goods made of rubber, gutta-percha, gum, asbestos, mica or
  substitutes therefor.

  This Class includes, in particular:

      rubber material for recapping tyres;
      floating anti-pollution barriers;
      adhesive tapes, other than stationery and not for medical or household purposes;
      plastic films, other than for wrapping and packaging, for example, anti-dazzle films for windows;
      elastic threads and threads of rubber or plastic, not for textile use;
      certain goods made of the materials in this class not otherwise classified by function or purpose, for example,
      foam supports for flower arrangements, padding and stuffing materials of rubber or plastics, rubber stoppers,
      shock-absorbing buffers of rubber, rubber bags or envelopes for packaging.

  This Class does not include, in particular:

      fire hose (Cl. 9);
      pipes being parts of sanitary installations (Cl. 11) and rigid pipes of metal (Cl. 6) and not of metal (Cl. 19);
      insulating glass for building (Cl. 19);
      certain goods made of the materials in this class that are classified according to their function or purpose, for
      example, gum resins (Cl. 2), rubber for dental purposes (Cl. 5), asbestos screens for firemen (Cl. 9), adhesive
      rubber patches for repairing inner tubes (Cl. 12), rubber erasers (Cl. 16).



  Class 18
  Leather and imitations of leather;
  animal skins and hides;
  luggage and carrying bags;
  umbrellas and parasols;
  walking sticks;
  whips, harness and saddlery;
  collars, leashes and clothing for animals.

  Explanatory note
  Class 18 includes mainly leather, imitations of leather and certain goods made of those materials.

  This Class includes, in particular:

      luggage and carrying bags, for example, suitcases, trunks, travelling bags, sling bags for carrying infants, school
      bags;
      luggage or baggage tags;
      business card cases and pocket wallets;
      boxes and cases of leather or leatherboard.

  This Class does not include, in particular:

      walking sticks or canes for medical purposes (Cl. 10);

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      clothing, footwear and headwear of leather for human beings (Cl. 25);
      bags and cases adapted to the product they are intended to contain, for example, bags adapted for laptops
      (Cl. 9), bags and cases for cameras and photographic equipment (Cl. 9), cases for musical instruments (Cl. 15), golf
      bags with or without wheels, bags especially designed for skis and surfboards (Cl. 28);
      certain goods made of leather, imitations of leather, animal skins and hides that are classified according to their
      function or purpose, for example, leather strops (Cl. 8), polishing leather (Cl. 21), chamois leather for cleaning
      (Cl. 21), leather belts for clothing (Cl. 25).



  Class 19
  Materials, not of metal, for building and construction;
  rigid pipes, not of metal, for building;
  asphalt, pitch, tar and bitumen;
  transportable buildings, not of metal;
  monuments, not of metal.

  Explanatory note
  Class 19 includes mainly materials, not of metal, for building and construction.

  This Class includes, in particular:

      semi-worked woods for use in building, for example, beams, planks, panels;
      wood veneers;
      building glass, for example, glass tiles, insulating glass for building, safety glass;
      glass granules for marking out roads;
      granite, marble, gravel;
      terra-cotta for use as a building material;
      roofing, not of metal, incorporating photovoltaic cells;
      gravestones and tombs, not of metal;
      statues, busts and works of art of stone, concrete or marble;
      letter boxes of masonry;
      geotextiles;
      coatings being building materials;
      scaffolding, not of metal;
      transportable buildings or structures, not of metal, for example, aquaria, aviaries, flagpoles, porches, swimming
      pools.

  This Class does not include, in particular:

      cement preservatives, cement-waterproofing preparations (Cl. 1);
      fireproofing preparations (Cl. 1);
      wood preservatives (Cl. 2);
      oils for releasing form work for building (Cl. 4);
      letter boxes of metal (Cl. 6) and not of metal or masonry (Cl. 20);
      statues, busts and works of art of common metal (Cl. 6), of precious metal (Cl. 14), of wood, wax, plaster or plastic
      (Cl. 20), of porcelain, ceramic, earthenware, terra-cotta or glass (Cl. 21);



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      certain pipes, not of metal, not for building, for example, pipes being parts of sanitary installations (Cl. 11), flexible
      pipes, tubes and hoses, not of metal (Cl. 17);
      substances for insulating buildings against moisture (Cl. 17);
      glass for vehicle windows (semi-finished product) (Cl. 21);
      birdcages (Cl. 21);
      mats and matting, linoleum and other materials for covering existing floors (Cl. 27);
      unsawn or undressed timber (Cl. 31).



  Class 20
  Furniture, mirrors, picture frames;
  containers, not of metal, for storage or transport;
  unworked or semi-worked bone, horn, whalebone or mother-of-pearl;
  shells;
  meerschaum;
  yellow amber.

  Explanatory note
  Class 20 includes mainly furniture and parts therefor, as well as certain goods made of wood, cork, reed, cane, wicker,
  horn, bone, ivory, whalebone, shell, amber, mother-of-pearl, meerschaum and substitutes for all these materials, or of
  plastic.

  This Class includes, in particular:

      metal furniture, furniture for camping, gun racks, newspaper display stands;
      indoor window blinds and shades;
      bedding, for example, mattresses, bed bases, pillows;
      looking glasses, furniture and toilet mirrors;
      registration plates, not of metal;
      small items of hardware, not of metal, for example, bolts, screws, dowels, furniture casters, collars for fastening
      pipes;
      letter boxes, not of metal or masonry.

  This Class does not include, in particular:

      special furniture for laboratories (Cl. 9) or for medical use (Cl. 10);
      outdoor blinds of metal (Cl. 6), not of metal and not of textile (Cl. 19), of textile (Cl. 22);
      bed linen, eiderdowns and sleeping bags (Cl. 24);
      certain mirrors for specific uses, for example, mirrors used in optical goods (Cl. 9), mirrors used in surgery or
      dentistry (Cl. 10), rearview mirrors (Cl. 12), sighting mirrors for guns (Cl. 13);
      certain goods made of wood, cork, reed, cane, wicker, horn, bone, ivory, whalebone, shell, amber, mother-of-
      pearl, meerschaum and substitutes for all these materials, or of plastic, that are classified according to their
      function or purpose, for example, beads for making jewellery (Cl. 14), wooden floor boards (Cl. 19), baskets for
      domestic use (Cl. 21), plastic cups (Cl. 21), reed mats (Cl. 27).



  Class 21
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  Household or kitchen utensils and containers;
  cookware and tableware, except forks, knives and spoons;
  combs and sponges;
  brushes, except paintbrushes;
  brush-making materials;
  articles for cleaning purposes;
  unworked or semi-worked glass, except building glass;
  glassware, porcelain and earthenware.

  Explanatory note
  Class 21 includes mainly small, hand-operated utensils and apparatus for household and kitchen use, as well as
  cosmetic and toilet utensils, glassware and certain goods made of porcelain, ceramic, earthenware, terra-cotta or
  glass.

  This Class includes, in particular:

      household and kitchen utensils, for example, fly swatters, clothes-pegs, mixing spoons, basting spoons and
      corkscrews, as well as serving utensils, for example, sugar tongs, ice tongs, pie servers and serving ladles;
      household, kitchen and cooking containers, for example, vases, bottles, piggy banks, pails, cocktail shakers,
      cooking pots and pans, and non-electric kettles and pressure cookers;
      small hand-operated kitchen apparatus for mincing, grinding, pressing or crushing, for example, garlic presses,
      nutcrackers, pestles and mortars;
      dish stands and decanter stands;
      cosmetic and toilet utensils, for example, electric and non-electric combs and toothbrushes, dental floss, foam toe
      separators for use in pedicures, powder puffs, fitted vanity cases;
      gardening articles, for example, gardening gloves, window-boxes, watering cans and nozzles for watering hose;
      indoor aquaria, terrariums and vivariums.

  This Class does not include, in particular:

      cleaning preparations (Cl. 3);
      containers for storage and transport of goods, of metal (Cl. 6), not of metal (Cl. 20);
      small apparatus for mincing, grinding, pressing or crushing, which are driven by electricity (Cl. 7);
      razors and shaving apparatus, hair and nail clippers, electric and non-electric implements for manicure and
      pedicure, for example, manicure sets, emery boards, cuticle nippers (Cl. 8);
      table cutlery (Cl. 8) and hand-operated cutting tools for kitchen use, for example, vegetable shredders, pizza
      cutters, cheese slicers (Cl. 8);
      lice combs, tongue scrapers (Cl. 10);
      cooking utensils, electric (Cl. 11);
      toilet mirrors (Cl. 20);
      certain goods made of glass, porcelain and earthenware that are classified according to their function or purpose,
      for example, porcelain for dental prostheses (Cl. 5), spectacle lenses (Cl. 9), glass wool for insulation (Cl. 17),
      earthenware tiles (Cl. 19), building glass (Cl. 19), glass fibres for textile use (Cl. 22).



  Class 22

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  Ropes and string;
  nets;
  tents and tarpaulins;
  awnings of textile or synthetic materials;
  sails;
  sacks for the transport and storage of materials in bulk;
  padding, cushioning and stuffing materials, except of paper, cardboard, rubber or plastics;
  raw fibrous textile materials and substitutes therefor.

  Explanatory note
  Class 22 includes mainly canvas and other materials for making sails, rope, padding, cushioning and stuffing materials
  and raw fibrous textile materials.

  This Class includes, in particular:

      cords and twines made of natural or artificial textile fibres, paper or plastics;
      fishing nets, hammocks, rope ladders;
      vehicle covers, not fitted;
      certain sacks and bags not otherwise classified by function or purpose, for example, mesh bags for washing
      laundry, body bags, mail bags;
      packaging bags of textile;
      animal fibres and raw textile fibres, for example, animal hair, cocoons, jute, raw or treated wool, raw silk.

  This Class does not include, in particular:

      metal ropes (Cl. 6);
      strings for musical instruments (Cl. 15) and for sports rackets (Cl. 28);
      padding and stuffing materials of paper or cardboard (Cl. 16), rubber or plastics (Cl. 17);
      certain nets and bags that are classified according to their function or purpose, for example, safety nets (Cl. 9),
      luggage nets for vehicles (Cl. 12), garment bags for travel (Cl. 18), hair nets (Cl. 26), golf bags (Cl. 28), nets for
      sports (Cl. 28);
      packaging bags, not of textile, which are classified according to the material of which they are made, for example,
      packaging bags of paper or plastics (Cl. 16), of rubber (Cl. 17), of leather (Cl. 18).



  Class 23
  Yarns and threads for textile use.

  Explanatory note
  Class 23 includes mainly natural or synthetic yarns and threads for textile use.

  This Class includes, in particular:

      fibreglass, elastic, rubber and plastic threads for textile use;
      threads for embroidery, darning and sewing, including those of metal;
      spun silk, spun cotton, spun wool.

  This Class does not include, in particular:

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      certain threads for specific uses, for example, identification threads for electric wires (Cl. 9), surgical thread (Cl. 10),
      threads of precious metal being jewellery (Cl. 14);
      threads, other than for textile use, that are classified according to the material of which they are made, for
      example, threads for binding of metal (Cl. 6) and not of metal (Cl. 22), elastic threads, threads of rubber or plastic
      (Cl. 17), fibreglass threads (Cl. 21).



  Class 24
  Textiles and substitutes for textiles;
  household linen;
  curtains of textile or plastic.

  Explanatory note
  Class 24 includes mainly fabrics and fabric covers for household use.

  This Class includes, in particular:

      household linen, for example, bedspreads, pillow shams, towels of textile;
      bed linen of paper;
      sleeping bags, sleeping bag liners;
      mosquito nets.

  This Class does not include, in particular:

      electrically heated blankets, for medical purposes (Cl. 10) and not for medical purposes (Cl. 11);
      table linen of paper (Cl. 16);
      asbestos safety curtains (Cl. 17), bamboo curtains and bead curtains for decoration (Cl. 20);
      horse blankets (Cl. 18);
      certain textiles and fabrics for specific uses, for example, fabrics for bookbinding (Cl. 16), insulating fabrics (Cl. 17),
      geotextiles (Cl. 19).



  Class 25
  Clothing, footwear, headwear.

  Explanatory note
  Class 25 includes mainly clothing, footwear and headwear for human beings.

  This Class includes, in particular:

      parts of clothing, footwear and headwear, for example, cuffs, pockets, ready-made linings, heels and heelpieces,
      cap peaks, hat frames (skeletons);
      clothing and footwear for sports, for example, ski gloves, sports singlets, cyclists’ clothing, judo and karate
      uniforms, football shoes, gymnastic shoes, ski boots;
      masquerade costumes;
      paper clothing, paper hats for use as clothing;
      bibs, not of paper;
      pocket squares;

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      footmuffs, not electrically heated.

  This Class does not include, in particular:

      small items of hardware used in shoemaking, for example, shoe pegs and shoe dowels of metal (Cl. 6) and not of
      metal (Cl. 20), as well as haberdashery accessories and fastenings for clothing, footwear and headwear, for
      example, clasps, buckles, zippers, ribbons, hatbands, hat and shoe trimmings (Cl. 26);
      certain clothing, footwear and headwear for special use, for example, protective helmets, including for sports
      (Cl. 9), clothing for protection against fire (Cl. 9), clothing especially for operating rooms (Cl. 10), orthopaedic
      footwear (Cl. 10), as well as clothing and footwear that are essential for the practice of certain sports, for example,
      baseball gloves, boxing gloves, ice skates, skating boots with skates attached (Cl. 28);
      electrically heated clothing (Cl. 11);
      electrically heated footmuffs (Cl. 11), fitted footmuffs for pushchairs and prams (Cl. 12);
      bibs of paper (Cl. 16);
      handkerchiefs of paper (Cl. 16) and of textile (Cl. 24);
      clothing for animals (Cl. 18);
      carnival masks (Cl. 28);
      dolls’ clothes (Cl. 28);
      paper party hats (Cl. 28).



  Class 26
  Lace, braid and embroidery, and haberdashery ribbons and bows;
  buttons, hooks and eyes, pins and needles;
  artificial flowers;
  hair decorations;
  false hair.

  Explanatory note
  Class 26 includes mainly dressmakers’ articles, natural or synthetic hair for wear, and hair adornments, as well as small
  decorative items intended to adorn a variety of objects, not included in other classes.

  This Class includes, in particular:

      wigs, toupees, false beards;
      barrettes, hair bands;
      ribbons and bows being haberdashery or used as hair decorations, made of any material;
      ribbons and bows for gift wrapping, not of paper;
      hair nets;
      buckles, zippers;
      charms, other than for jewellery, key rings or key chains;
      artificial Christmas garlands and wreaths, including those incorporating lights;
      certain articles for curling hair, for example, electric and non-electric hair curlers, other than hand implements,
      hair curling pins, hair curling paper.

  This Class does not include, in particular:

      false eyelashes (Cl. 3);
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      hooks being small items of metal hardware (Cl. 6) or hardware, not of metal (Cl. 20), curtain hooks (Cl. 20);
      certain special types of needles, for example, tattoo needles (Cl. 8), needles for surveying compasses (Cl. 9),
      needles for medical purposes (Cl. 10), needles for pumps for inflating balls for games (Cl. 28);
      hand implements for curling hair, for example, curling tongs, eyelash curlers (Cl. 8);
      hair prostheses (Cl. 10);
      jewellery charms, charms for key rings or key chains (Cl. 14);
      certain ribbons and bows, for example, paper ribbons and bows, other than haberdashery or hair decorations
      (Cl. 16), rhythmic gymnastics ribbons (Cl. 28);
      yarns and threads for textile use (Cl. 23);
      Christmas trees of synthetic material (Cl. 28).



  Class 27
  Carpets, rugs, mats and matting, linoleum and other materials for covering existing floors;
  wall hangings, not of textile.

  Explanatory note
  Class 27 includes mainly products intended to be added as coverings to previously constructed floors and walls.

  This Class includes, in particular:

      automobile carpets;
      mats being floor coverings, for example, bath mats, door mats, gymnastic mats, yoga mats;
      artificial turf;
      wallpaper, including textile wallpaper.

  This Class does not include, in particular:
      floors, floorings and floor tiles of metal (Cl. 6) and not of metal (Cl. 19), wooden floor boards (Cl. 19);
      electrically heated carpets (Cl. 11);
      geotextiles (Cl. 19);
      mats for infant playpens (Cl. 20);
      wall hangings of textile (Cl. 24).



  Class 28
  Games, toys and playthings;
  video game apparatus;
  gymnastic and sporting articles;
  decorations for Christmas trees.

  Explanatory note
  Class 28 includes mainly toys, apparatus for playing games, sports equipment, amusement and novelty items, as well
  as certain articles for Christmas trees.

  This Class includes, in particular:

      amusement and game apparatus, including controllers therefor;

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      novelty toys for playing jokes and for parties, for example, carnival masks, paper party hats, confetti, party
      poppers and Christmas crackers;
      hunting and fishing tackle, for example, fishing rods, landing nets for anglers, decoys, hunting game calls;
      equipment for various sports and games.

  This Class does not include, in particular:

      Christmas tree candles (Cl. 4), electric lights for Christmas trees (Cl. 11), confectionery and chocolate decorations
      for Christmas trees (Cl. 30);
      diving equipment (Cl. 9);
      sex toys and love dolls (Cl. 10);
      clothing for gymnastics and sports (Cl. 25);
      certain gymnastic and sporting articles, for example, protective helmets, goggles and mouthguards for sports
      (Cl. 9), sporting firearms (Cl. 13), gymnasium mats (Cl. 27), as well as certain fishing and hunting equipment, for
      example, hunting knives, harpoons (Cl. 8), hunting firearms (Cl. 13), fishing nets (Cl. 22), that are classified
      according to other functions or purposes.



  Class 29
  Meat, fish, poultry and game;
  meat extracts;
  preserved, frozen, dried and cooked fruits and vegetables;
  jellies, jams, compotes;
  eggs;
  milk, cheese, butter, yogurt and other milk products;
  oils and fats for food.

  Explanatory note
  Class 29 includes mainly foodstuffs of animal origin, as well as vegetables and other horticultural comestible products
  which are prepared or preserved for consumption.

  This Class includes, in particular:

      meat-, fish-, fruit- or vegetable-based food;
      edible insects;
      milk beverages with milk predominating;
      milk substitutes, for example, almond milk, coconut milk, peanut milk, rice milk, soya milk;
      preserved mushrooms;
      pulses and nuts prepared for human consumption;
      seeds prepared for human consumption, not being seasonings or flavourings.

  This Class does not include, in particular:

      oils and fats, other than for food, for example, essential oils (Cl. 3), industrial oil (Cl. 4), castor oil for medical
      purposes (Cl. 5);
      baby food (Cl. 5);
      dietetic food and substances adapted for medical use (Cl. 5);
      dietary supplements (Cl. 5);
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      salad dressings (Cl. 30);
      processed seeds for use as a seasoning (Cl. 30);
      chocolate-coated nuts (Cl. 30);
      fresh and unprocessed fruits, vegetables, nuts and seeds (Cl. 31);
      foodstuffs for animals (Cl. 31);
      live animals (Cl. 31);
      seeds for planting (Cl. 31).



  Class 30
  Coffee, tea, cocoa and artificial coffee;
  rice, pasta and noodles;
  tapioca and sago;
  flour and preparations made from cereals;
  bread, pastries and confectionery;
  chocolate;
  ice cream, sorbets and other edible ices;
  sugar, honey, treacle;
  yeast, baking-powder;
  salt, seasonings, spices, preserved herbs;
  vinegar, sauces and other condiments;
  ice (frozen water).

  Explanatory note
  Class 30 includes mainly foodstuffs of plant origin, except fruits and vegetables, prepared or preserved for
  consumption, as well as auxiliaries intended for the improvement of the flavour of food.

  This Class includes, in particular:

      beverages with coffee, cocoa, chocolate or tea base;
      cereals prepared for human consumption, for example, oat flakes, corn chips, husked barley, bulgur, muesli;
      pizza, pies, sandwiches;
      chocolate-coated nuts;
      flavourings, other than essential oils, for food or beverages.

  This Class does not include, in particular:

      salt for industrial purposes (Cl. 1);
      food or beverage flavourings being essential oils (Cl. 3);
      medicinal teas and dietetic food and substances adapted for medical use (Cl. 5);
      baby food (Cl. 5);
      dietary supplements (Cl. 5);
      yeast for pharmaceutical purposes (Cl. 5), yeast for animal consumption (Cl. 31);
      milk beverages flavoured with coffee, cocoa, chocolate or tea (Cl. 29);
      soups, bouillon (Cl. 29);
      raw cereals (Cl. 31);
      fresh herbs (Cl. 31);

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      foodstuffs for animals (Cl. 31).



  Class 31
  Raw and unprocessed agricultural, aquacultural, horticultural and forestry products;
  raw and unprocessed grains and seeds;
  fresh fruits and vegetables, fresh herbs;
  natural plants and flowers;
  bulbs, seedlings and seeds for planting;
  live animals;
  foodstuffs and beverages for animals;
  malt.

  Explanatory note
  Class 31 includes mainly land and sea products not having been subjected to any form of preparation for
  consumption, live animals and plants, as well as food­stuffs for animals.

  This Class includes, in particular:

      unprocessed cereals;
      fresh fruits and vegetables, even after washing or waxing;
      plant residue;
      unprocessed algae;
      unsawn timber;
      fertilised eggs for hatching;
      fresh mushrooms and truffles;
      litter for animals, for example, aromatic sand, sanded paper for pets.

  This Class does not include, in particular:

      cultures of micro-organisms and leeches for medical purposes (Cl. 5);
      dietary supplements for animals and medicated animal feed (Cl. 5);
      semi-worked woods (Cl. 19);
      artificial fishing bait (Cl. 28);
      rice (Cl. 30);
      tobacco (Cl. 34).



  Class 32
  Beers;
  non-alcoholic beverages;
  mineral and aerated waters;
  fruit beverages and fruit juices;
  syrups and other non-alcoholic preparations for making beverages.

  Explanatory note
  Class 32 includes mainly non-alcoholic beverages, as well as beer.

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  This Class includes, in particular:

      de-alcoholised beverages;
      soft drinks;
      rice-based and soya-based beverages, other than milk substitutes;
      energy drinks, isotonic beverages, protein-enriched sports beverages;
      non-alcoholic essences and fruit extracts for making beverages.

  This Class does not include, in particular:

      flavourings for beverages being essential oils (Cl. 3) or other than essential oils (Cl. 30);
      dietetic beverages adapted for medical purposes (Cl. 5);
      milk beverages with milk predominating, milk shakes (Cl. 29);
      milk substitutes, for example, almond milk, coconut milk, peanut milk, rice milk, soya milk (Cl. 29);
      lemon juice for culinary purposes, tomato juice for cooking (Cl. 29);
      beverages with coffee, cocoa, chocolate or tea base (Cl. 30);
      beverages for pets (Cl. 31);
      alcoholic beverages, except beer (Cl. 33).



  Class 33
  Alcoholic beverages, except beers;
  alcoholic preparations for making beverages.

  Explanatory note
  Class 33 includes mainly alcoholic beverages, essences and extracts.

  This Class includes, in particular:

      wines, fortified wines;
      alcoholic cider, perry;
      spirits, liqueurs;
      alcoholic essences, alcoholic fruit extracts, bitters.

  This Class does not include, in particular:

      medicinal beverages (Cl. 5);
      de-alcoholised beverages (Cl. 32);
      beers (Cl. 32);
      non-alcoholic mixers used to make alcoholic beverages, for example, soft drinks, soda water (Cl. 32).



  Class 34
  Tobacco and tobacco substitutes;
  cigarettes and cigars;
  electronic cigarettes and oral vaporizers for smokers;
  smokers’ articles;
  matches.

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  Explanatory note
  Class 34 includes mainly tobacco and articles used for smoking, as well as certain accessories and containers related
  to their use.

  This Class includes, in particular:

      tobacco substitutes, not for medical purposes;
      flavourings, other than essential oils, for use in electronic cigarettes, oral vaporizers for smokers;
      herbs for smoking;
      snuff;
      certain accessories and containers related to the use of tobacco and articles for smoking, for example, lighters for
      smokers, ashtrays for smokers, tobacco jars, snuff boxes, cigar humidors.

  This Class does not include, in particular:

      tobacco-free cigarettes for medical purposes (Cl. 5);
      batteries and chargers for electronic cigarettes (Cl. 9);
      ashtrays for automobiles (Cl. 12).



  Class 35
  Advertising;
  business management, organization and administration;
  office functions.

  Explanatory note
  Class 35 includes mainly services rendered by persons or organizations principally with the object of:

           1. help in the working or management of a commercial undertaking, or
           2. help in the management of the business affairs or commercial functions of an industrial or commercial
               enterprise,

  as well as services rendered by advertising establishments primarily undertaking communications to the public,
  declarations or announcements by all means of diffusion and concerning all kinds of goods or services.

  This Class includes, in particular:

      the bringing together, for the benefit of others, of a variety of goods, excluding the transport thereof, enabling
      customers to conveniently view and purchase those goods; such services may be provided by retail stores,
      wholesale outlets, through vending machines, mail order catalogues or by means of electronic media, for
      example, through web sites or television shopping programmes;
      advertising, marketing and promotional services, for example, distribution of samples, development of advertising
      concepts, writing and publication of publicity texts;
      shop window dressing;
      public relations services;
      production of teleshopping programmes;
      organization of trade fairs and exhibitions for commercial or advertising purposes;
      search engine optimization for sales promotion;

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      commercial assistance services, for example, personnel recruitment, negotiation of business contracts for others,
      cost price analysis, import-export agency services;
      administration services relating to business transactions and financial records, for example, book-keeping,
      drawing up of statements of accounts, business and financial auditing, business appraisals, tax preparation and
      filing services;
      commercial administration of the licensing of the goods and services of others;
      services consisting of the registration, transcription, composition, compilation or systematization of written
      communications and registrations, and also the compilation of mathematical or statistical data;
      office functions, for example, appointment scheduling and reminder services, data search in computer files for
      others, computerized file management, telephone switchboard services.

  This Class does not include, in particular:

      financial services, for example, financial analysis, financial management, financial sponsorship (Cl. 36);
      real estate management (Cl. 36);
      stock brokerage services (Cl. 36);
      transportation logistics (Cl. 39);
      energy auditing (Cl. 42);
      graphic design of promotional materials (Cl. 42);
      legal services in relation to the negotiation of contracts for others (Cl. 45);
      licensing of intellectual property, legal administration of licences, copyright management (Cl. 45);
      registration of domain names (Cl. 45).



  Class 36
  Financial, monetary and banking services;
  insurance services;
  real estate affairs.

  Explanatory note
  Class 36 includes mainly services relating to banking and other financial transactions, financial valuation services, as
  well as insurance and real estate activities.

  This Class includes, in particular:

      financial transaction and payment services, for example, exchanging money, electronic funds transfer, processing
      of credit card and debit card payments, issuance of travellers’ cheques;
      financial management and research;
      financial appraisals, for example, jewellery, art and real estate appraisal, repair costs evaluation;
      cheque verification;
      financing and credit services, for example, loans, issuance of credit cards, hire- or lease-purchase financing;
      crowdfunding;
      safe deposit services;
      financial sponsorship;
      real estate agency services, real estate management, rental of apartments, rent collection;
      insurance underwriting, actuarial services;



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      brokerage services, for example, securities, insurance and real estate brokerage, brokerage of carbon credits,
      pawnbrokerage.

  This Class does not include, in particular:

      administration services relating to business transactions and financial records, for example, book-keeping,
      drawing up of statements of accounts, business and financial auditing, business appraisals, tax preparation and
      filing services (Cl. 35);
      sponsorship search, promotion of goods and services through sponsorship of sports events (Cl. 35);
      cash replenishment of automated teller machines (Cl. 39);
      freight brokerage, transport brokerage (Cl. 39);
      quality evaluation of wool and standing timber (Cl. 42).




  Class 37
  Construction services;
  installation and repair services;
  mining extraction, oil and gas drilling.

  Explanatory note
  Class 37 includes mainly services in the field of construction, as well as services involving the restoration of objects to
  their original condition or their preservation without altering their physical or chemical properties.

  This Class includes, in particular:

      construction and demolition of buildings, roads, bridges, dams or transmission lines, as well as services in the field
      of construction, for example, interior and exterior painting, plastering, plumbing, heating equipment
      installation, and roofing;
      shipbuilding;
      rental of construction tools, machines and equipment, for example, rental of bulldozers, rental of cranes;
      various repair services, for example, those in the fields of electricity, computer hardware, furniture, instruments,
      tools;
      various restoration services, for example, building restoration, furniture restoration and restoration of works of art;
      maintenance services for preserving an object in its original condition without changing any of its properties;
      cleaning of different objects, for example, windows, vehicles, clothing, as well as the laundering and pressing of
      clothing.

  This Class does not include, in particular:

      physical storage of goods (Cl. 39);
      transformation of an object or substance that involves a process of change in its essential properties, for example,
      the cutting, dyeing, fireproofing of cloth (Cl. 40), the casting, plating, treating of metal (Cl. 40), custom tailoring,
      dressmaking, embroidering (Cl. 40), food and drink preservation (Cl. 40);
      installation, maintenance and updating of computer software (Cl. 42), creation and hosting of web sites (Cl. 42);
      construction drafting and architectural services (Cl. 42).



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  Class 38
  Telecommunications services.

  Explanatory note
  Class 38 includes mainly services that allow at least one party to communicate with another, as well as services for
  the broadcasting and transmission of data.

  This Class includes, in particular:

      transmission of digital files and electronic mail;
      providing user access to global computer networks;
      radio and television broadcasting;
      video-on-demand transmission;
      providing internet chatrooms and online forums;
      telephone and voice mail services;
      teleconferencing and videoconferencing services.

  This Class does not include, in particular:

      radio advertising (Cl. 35);
      telemarketing services (Cl. 35);
      content or subject matter that may be contained in the communication activity, for example, downloadable image
      files (Cl. 9), providing business information via a web site (Cl. 35), providing films and television programmes, not
      downloadable, via video-on-demand services (Cl. 41);
      services conducted using telecommunication connections, for example, online retail services for downloadable
      digital music (Cl. 35), online banking (Cl. 36);
      production of radio and television programmes (Cl. 41);
      telecommunications technology consultancy (Cl. 42);
      online social networking services (Cl. 45).



  Class 39
  Transport;
  packaging and storage of goods;
  travel arrangement.

  Explanatory note
  Class 39 includes mainly services for the transport of people, animals or goods from one place to another by rail,
  road, water, air or pipeline and services necessarily connected with such transport, as well as the storing of goods in
  any kind of storage facility, warehouses or other types of building for their preservation or guarding.

  This Class includes, in particular:

      operation of stations, bridges, railways, ferries and other transport facilities;
      rental of vehicles for transportation, as well as chauffeuring and piloting services;
      rental services related to transport, storage and travel, for example, parking place rental, garage rental, rental of
      storage containers;


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      operation of maritime tugs, unloading, operation of ports and docks, and salvaging of wrecked ships and their
      cargoes;
      packaging, bottling, wrapping and delivering of goods;
      replenishing vending machines and automated teller machines;
      services for providing information about journeys or the transport of goods by brokers and tourist agencies, as
      well as for providing information relating to tariffs, timetables and methods of transport;
      inspection of vehicles or goods for the purpose of transport;
      distribution of energy and electricity, as well as distribution and supply of water.

  This Class does not include, in particular:

      advertising travel or transport (Cl. 35);
      insurance services during the transport of people or goods (Cl. 36);
      maintenance and repair of vehicles or other items connected with the transport of people or goods (Cl. 37);
      conducting guided tours (Cl. 41);
      electronic data storage (Cl. 42);
      reservation of hotel rooms or other temporary accommodation by travel agents or brokers (Cl. 43).



  Class 40
  Treatment of materials;
  recycling of waste and trash;
  air purification and treatment of water;
  printing services;
  food and drink preservation.

  Explanatory note
  Class 40 includes mainly services rendered by the mechanical or chemical processing, transformation or production
  of objects or inorganic or organic substances, including custom manufacturing services. For the purposes of
  classification, the production or manufacturing of goods is considered a service only in cases where it is effected for
  the account of another person to their order and specification. If the production or manufacturing is not being
  performed to fulfil an order for goods which meet the customer’s particular needs, requirements, or specifications,
  then it is generally ancillary to the maker’s primary commercial activity or goods in trade. If the substance or object
  is marketed to third parties by the person who processed, transformed or produced it, then this would generally not
  be considered a service.

  This Class includes, in particular:

      transformation of an object or substance and any process involving a change in its essential properties, for
      example, dyeing a garment; such transformation services are also classified in Class 40 if they are provided in the
      framework of repair or maintenance work, for example, chromium plating of motor vehicle bumpers;
      services of material treatment which may be present during the production of any substance or object other than
      a building, for example, services which involve cutting, shaping, polishing by abrasion or metal coating;
      joining of materials, for example, soldering or welding;
      processing and treatment of foodstuffs, for example, fruit crushing, flour milling, food and drink preservation,
      food smoking, freezing of foods;



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      custom manufacturing of goods to the order and specification of others (bearing in mind that certain offices
      require that the goods produced be indicated), for example, custom manufacturing of automobiles;
      services of a dental technician;
      quilting, embroidering, custom tailoring, textile dyeing, applying finishes to textiles.

  This Class does not include, in particular:

      services that do not entail a change in the essential properties of the object or substance, for example, furniture
      maintenance or repair services (Cl. 37);
      services in the field of construction, for example, painting and plastering (Cl. 37);
      cleaning services, for example, laundering, window cleaning, cleaning of interior and exterior surfaces of buildings
      (Cl. 37);
      rustproofing, for example, anti-rust treatment for vehicles (Cl. 37);
      certain customization services, for example, the custom painting of automobiles (Cl. 37);
      decorating of food, food sculpting (Cl. 43).



  Class 41
  Education;
  providing of training;
  entertainment;
  sporting and cultural activities.

  Explanatory note
  Class 41 includes mainly services consisting of all forms of education or training, services having the basic aim of the
  entertainment, amusement or recreation of people, as well as the presentation of works of visual art or literature to
  the public for cultural or educational purposes.

  This Class includes, in particular:

      organization of exhibitions for cultural or educational purposes, arranging and conducting of conferences,
      congresses and symposiums;
      translation and language interpretation services;
      publication of books and texts, other than publicity texts;
      news reporters services, photographic reporting;
      photography;
      film direction and production services, other than for advertising films;
      cultural, educational or entertainment services provided by amusement parks, circuses, zoos, art galleries and
      museums;
      sports and fitness training services;
      training of animals;
      online gaming services;
      gambling services, organization of lotteries;
      ticket reservation and booking services for entertainment, educational and sporting events;
      certain writing services, for example, screenplay writing, songwriting.

  This Class does not include, in particular:


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      organization of exhibitions for commercial or advertising purposes (Cl. 35);
      writing and publication of publicity texts (Cl. 35);
      news agency services (Cl. 38);
      radio and television broadcasting (Cl. 38);
      videoconferencing services (Cl. 38);
      technical writing (Cl. 42);
      day nursery and crèche services (Cl. 43);
      health spa services (Cl. 44);
      planning and arranging wedding ceremonies (Cl. 45).




  Class 42
  Scientific and technological services and research and design relating thereto;
  industrial analysis, industrial research and industrial design services;
  quality control and authentication services;
  design and development of computer hardware and software.

  Explanatory note
  Class 42 includes mainly services provided by persons in relation to the theoretical and practical aspects of complex
  fields of activities, for example, scientific laboratory services, engineering, computer programming, architectural
  services or interior design.

  This Class includes, in particular:

      services of engineers and scientists who undertake evaluations, estimates, research and reports in the scientific
      and technological fields, including technological consultancy;
      computer and technology services for securing computer data and personal and financial information and for the
      detection of unauthorized access to data and information, for example, computer virus protection services, data
      encryption services, electronic monitoring of personally identifying information to detect identity theft via the
      internet;
      software as a service (SaaS), platform as a service (PaaS);
      scientific research services for medical purposes;
      architectural and urban planning services;
      certain design services, for example, industrial design, design of computer software and systems, interior design,
      packaging design, graphic arts design, dress designing;
      surveying;
      oil, gas and mining exploration services.

  This Class does not include, in particular:

      certain research services, for example, business research (Cl. 35), marketing research (Cl. 35), financial research (Cl.
      36), genealogical research (Cl. 45), legal research (Cl. 45);
      business auditing (Cl. 35);
      computer file management services (Cl. 35);
      financial evaluation services (Cl. 36);
      mining extraction, oil and gas drilling (Cl. 37);

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  Nice Agreement current edition version -
  general remarks, class headings and
  explanatory notes
  Nice Agreement Eleventh Edition – version 2022 (NCL 11-
  2022)
  This webpage provides the general remarks, class headings, and explanatory notes under the Nice Classification,
  Eleventh Edition, version 2022 (NCL 11-2022), in effect as of January 1, 2022. For information about previous
  editions/versions of the Nice Classification, see the Nice Agreement Archive (/trademarks/trademark-updates-and-
  announcements/nice-agreement-archives-general-remarks-class-headings) page.

  Nice Classification
  Prior to registration, each good or service in a trademark application must be classified in its appropriate class. As of
  September 1, 1973, the international classification of goods and services is the controlling classification system used
  by the United States and applies to all trademark applications filed on or after September 1, 1973 and their resulting
  registrations for all statutory purposes. See 37 C.F.R. §2.85(b)
  (https://tmep.uspto.gov/RDMS/TFSR/current#/current/r-772bc58c-6325-4ac6-86e5-cd7fce06ac64.html); TMEP
  §1401.02 (https://tmep.uspto.gov/RDMS/detail/manual/TMEP/current/TMEP-1400d1e20.html). International
  trademark classification is established by the Committee of Experts of the Nice Union and set forth in the
  International Classification of Goods and Services for the Purposes of the Registration of Marks (“Nice Classification”),
  published by the World Intellectual Property Organization (“WIPO”) on its website
  (http://www.wipo.int/classifications/nice/en/). The purpose of the Nice Classification is to group, as much as
  possible, like goods or services in a single class. TMEP §1401.11
  (https://tmep.uspto.gov/RDMS/detail/manual/TMEP/current/TMEP-1400d1e1914.html).

  The Nice Classification includes a list of goods and services and their classes (the “Alphabetical List”) and a list of
  classes with explanatory notes. See Article 1(2) of the Nice Agreement
  (http://www.wipo.int/treaties/en/classification/nice/). Goods are classified in Classes 1-34, and services are
  classified in Classes 35-45. For additional information regarding the Nice Classification, see TMEP §1401
  (https://tmep.uspto.gov/RDMS/detail/manual/TMEP/current/TMEP-1400d1e8.html) et seq.

  The Nice Classification is used to determine appropriate classification of goods and services in trademark applications
  filed on or after September 1, 1973. However, for an identification to be acceptable, it must comply with USPTO
  policy and practice regarding appropriate identification of goods and services. For additional information on
  identifying goods and services, see TMEP §1402 (https://tmep.uspto.gov/RDMS/TMEP/current#/current/TMEP-
  1400d1e1982.html) et seq. Accordingly, most terms in the Alphabetical List will not be sufficiently definite to use in
  an identification of goods and/or services because the list was developed to classify goods and services and not to
  identify specific goods and services. Please see the Trademark ID Manual (https://tmidm.uspto.gov/id-master-list-
  public.html) for examples of acceptable identifications and their classification.

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  U.S. Classification
  U.S. Classes A, B, and 200, which are classes from the old U.S. classification system, are still used in applications filed
  under §1 or §44 the United States to classify certification marks for goods (U.S. Class A), certification marks for
  services (U.S. Class B), and collective membership marks (U.S. Class 200). These classes are not included in the
  international classes under the Nice Agreement. For additional information on U.S. Classes A, B, and 200, see TMEP
  §1306.02(d) (https://tmep.uspto.gov/RDMS/detail/manual/TMEP/current/ch2300 d24b9b 1e683 e5.html) and
  §1304.02(d) (https://tmep.uspto.gov/RDMS/detail/manual/TMEP/current/ch2300 d24b96 186cc 31f.html).

  NCL 11-2022
  On January 1, 2022, the Nice Classification, Eleventh Edition, version 2022 (NCL 11-2022), became effective. The
  changes will also be available in the USPTO’s Trademark ID Manual (https://tmidm.uspto.gov/id-master-list-
  public.html) on that date. The general remarks, class numbers, class headings, and explanatory notes for each
  international trademark class are as follows.


  General remarks
  The indications of goods or services appearing in the class headings are general indications relating to the fields to
  which, in principle, the goods or services belong. The Alphabetical List should therefore be consulted in order to
  ascertain the exact classification of each individual product or service.

  Goods
  If a product cannot be classified with the aid of the List of Classes, the Explanatory Notes and the Alphabetical List,
  the following remarks set forth the criteria to be applied:

  (a) A finished product is in principle classified according to its function or purpose. If the function or purpose of a
  finished product is not mentioned in any class heading, the finished product is classified by analogy with other
  comparable finished products, indicated in the Alphabetical List. If none is found, other subsidiary criteria, such as
  that of the material of which the product is made or its mode of operation, are applied.

  (b) A finished product which is a multipurpose composite object (e.g., clocks incorporating radios) may be classified
  in all classes that correspond to any of its functions or intended purposes. However if a good has a primary purpose
  it should be classified in this class. If those functions or purposes are not mentioned in any class heading, other
  criteria, indicated under (a), above, are to be applied.

  (c) Raw materials, unworked or semi-worked, are in principle classified according to the material of which they
  consist.

  (d) Goods intended to form part of another product are in principle classified in the same class as that product only
  in cases where the same type of goods cannot normally be used for another purpose. In all other cases, the criterion
  indicated under (a), above, applies.

  (e) When a product, whether finished or not, is classified according to the material of which it is made, and it is made
  of different materials, the product is in principle classified according to the material which predominates.

  (f) Cases adapted to the product they are intended to contain are in principle classified in the same class as the
  product.

  Services
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  If a service cannot be classified with the aid of the List of Classes, the Explanatory Notes and the Alphabetical List, the
  following remarks set forth the criteria to be applied:

  (a) Services are in principle classified according to the branches of activities specified in the headings of the service
  classes and in their Explanatory Notes or, if not specified, by analogy with other comparable services indicated in the
  Alphabetical List.

  (b) Rental services are in principle classified in the same classes as the services provided by means of the rented
  objects (e.g., Rental of telephones, covered by Cl. 38). Leasing services are analogous to rental services and therefore
  should be classified in the same way. However, hire- or lease-purchase financing is classified in Cl. 36 as a financial
  service.

  (c) Services that provide advice, information or consultation are in principle classified in the same classes as the
  services that correspond to the subject matter of the advice, information or consultation, e.g., transportation
  consultancy (Cl. 39), business management consultancy (Cl. 35), financial consultancy (Cl. 36), beauty consultancy (Cl.
  44). The rendering of the advice, information or consultancy by electronic means (e.g., telephone, computer) does not
  affect the classification of these services.

  (d) Services rendered in the framework of franchising are in principle classified in the same class as the particular
  services provided by the franchisor (e.g., business advice relating to franchising (Cl. 35), financing services relating to
  franchising (Cl. 36), legal services relating to franchising (Cl. 45)).


  Class headings with explanatory notes
  Class 1
  Chemicals for use in industry, science and photography, as well as in agriculture, horticulture and forestry;
  unprocessed artificial resins, unprocessed plastics;
  fire extinguishing and fire prevention compositions;
  tempering and soldering preparations;
  substances for tanning animal skins and hides;
  adhesives for use in industry;
  putties and other paste fillers;
  compost, manures, fertilizers;
  biological preparations for use in industry and science.

  Explanatory note
  Class 1 includes mainly chemical products for use in industry, science and agriculture, including those which go to
  the making of products belonging to other classes.

  This Class includes, in particular:

      sensitized paper;
      tyre repairing compositions;
      salt for preserving, other than for foodstuffs;
      certain additives for use in the food industry, for example, pectin, lecithin, enzymes and chemical preservatives;
      certain ingredients for use in the manufacture of cosmetics and pharmaceuticals, for example, vitamins,
      preservatives and antioxidants;


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      certain filtering materials, for example, mineral substances, vegetable substances and ceramic materials in
      particulate form.

  This Class does not include, in particular:

      raw natural resins (Cl. 2), semi-processed resins (Cl. 17);
      chemical preparations for medical or veterinary purposes (Cl. 5);
      fungicides, herbicides and preparations for destroying vermin (Cl. 5);
      adhesives for stationery or household purposes (Cl. 16);
      salt for preserving foodstuffs (Cl. 30);
      straw mulch (Cl. 31).

  Class 2
  Paints, varnishes, lacquers;
  preservatives against rust and against deterioration of wood;
  colorants, dyes;
  inks for printing, marking and engraving;
  raw natural resins;
  metals in foil and powder form for use in painting, decorating, printing and art.

  Explanatory note
  Class 2 includes mainly paints, colorants and preparations used for protection against corrosion.

  This Class includes, in particular:

      paints, varnishes and lacquers for industry, handicrafts and arts;
      thinners, thickeners, fixatives and siccatives for paints, varnishes and lacquers;
      mordants for wood and leather;
      anti-rust oils and oils for the preservation of wood;
      dyestuffs for clothing;
      colorants for foodstuffs and beverages.

  This Class does not include, in particular:

      unprocessed artificial resins (Cl. 1), semi-processed resins (Cl. 17);
      mordants for metals (Cl. 1);
      laundry blueing (Cl. 3);
      cosmetic dyes (Cl. 3);
      paint boxes (articles for use in school) (Cl. 16);
      inks for stationery purposes (Cl. 16);
      insulating paints and varnishes (Cl. 17).

  Class 3
  Non-medicated cosmetics and toiletry preparations;
  non-medicated dentifrices;
  perfumery, essential oils;
  bleaching preparations and other substances for laundry use;
  cleaning, polishing, scouring and abrasive preparations.

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  Explanatory note
  Class 3 includes mainly non-medicated toiletry preparations, as well as cleaning preparations for use in the home and
  other environments.

  This Class includes, in particular:

      sanitary preparations being toiletries;
      tissues impregnated with cosmetic lotions;
      deodorants for human beings or for animals;
      room fragrancing preparations;
      nail art stickers;
      polishing wax;
      sandpaper.

  This Class does not include, in particular:

      ingredients for use in the manufacture of cosmetics, for example, vitamins, preservatives and antioxidants (Cl. 1);
      degreasing preparations for use in manufacturing processes (Cl. 1);
      chemical chimney cleaners (Cl. 1);
      deodorants, other than for human beings or for animals (Cl. 5);
      medicated shampoos, soaps, lotions and dentifrices (Cl. 5);
      emery boards, emery files, sharpening stones and grindstones (hand tools) (Cl. 8);
      cosmetic and cleaning instruments, for example, make-up brushes (Cl. 21), cloths, pads and rags for cleaning
      (Cl. 21).

  Class 4
  Industrial oils and greases, wax;
  lubricants;
  dust absorbing, wetting and binding compositions;
  fuels and illuminants;
  candles and wicks for lighting.

  Explanatory note
  Class 4 includes mainly industrial oils and greases, fuels and illuminants.

  This Class includes, in particular:

      oils for the preservation of masonry or of leather;
      raw wax, industrial wax;
      electrical energy;
      motor fuels, biofuels;
      non-chemical additives for fuels;
      wood for use as fuel.

  This Class does not include, in particular:

      certain special industrial oils and greases, for example, oils for tanning leather (Cl. 1), oils for the preservation of
      wood, anti-rust oils and greases (Cl. 2), essential oils (Cl. 3);

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      massage candles for cosmetic purposes (Cl. 3) and medicated massage candles (Cl. 5);
      certain special waxes, for example, grafting wax for trees (Cl. 1), tailors’ wax, polishing wax, depilatory wax (Cl. 3),
      dental wax (Cl. 5), sealing wax (Cl. 16);
      wicks adapted for oil stoves (Cl. 11) and for cigarette lighters (Cl. 34).

  Class 5
  Pharmaceuticals, medical and veterinary preparations;
  sanitary preparations for medical purposes;
  dietetic food and substances adapted for medical or veterinary use, food for babies;
  dietary supplements for human beings and animals;
  plasters, materials for dressings;
  material for stopping teeth, dental wax;
  disinfectants;
  preparations for destroying vermin;
  fungicides, herbicides.

  Explanatory note
  Class 5 includes mainly pharmaceuticals and other preparations for medical or veterinary purposes.

  This Class includes, in particular:

      sanitary preparations for personal hygiene, other than toiletries;
      diapers for babies and for incontinence;
      deodorants, other than for human beings or for animals;
      medicated shampoos, soaps, lotions and dentifrices;
      dietary supplements intended to supplement a normal diet or to have health benefits;
      meal replacements and dietetic food and beverages adapted for medical or veterinary use.

  This Class does not include, in particular:

      ingredients for use in the manufacture of pharmaceuticals, for example, vitamins, preservatives and antioxidants
      (Cl. 1);
      sanitary preparations being non-medicated toiletries (Cl. 3);
      deodorants for human beings or for animals (Cl. 3);
      support bandages, orthopaedic bandages (Cl. 10);
      meal replacements and dietetic food and beverages not specified as being for medical or veterinary use, which
      should be classified in the appropriate food or beverage classes, for example, low-fat potato crisps (Cl. 29), high-
      protein cereal bars (Cl. 30), isotonic beverages (Cl. 32).

  Class 6
  Common metals and their alloys, ores;
  metal materials for building and construction;
  transportable buildings of metal;
  non-electric cables and wires of common metal;
  small items of metal hardware;
  metal containers for storage or transport;
  safes.


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  Explanatory note
  Class 6 includes mainly unwrought and partly wrought common metals, including ores, as well as certain goods made
  of common metals.

  This Class includes, in particular:

      metals in foil or powder form for further processing, for example, for 3D printers;
      metal building materials, for example, materials of metal for railway tracks, pipes and tubes of metal;
      small items of metal hardware, for example, bolts, screws, nails, furniture casters, window fasteners;
      transportable buildings or structures of metal, for example, prefabricated houses, swimming pools, cages for wild
      animals, skating rinks;
      certain goods made of common metals not otherwise classified by function or purpose, for example, all-purpose
      boxes of common metal, statues, busts and works of art of common metal.

  This Class does not include, in particular:

      metals and ores used as chemicals in industry or scientific research for their chemical properties, for example,
      bauxite, mercury, antimony, alkaline and alkaline-earth metals (Cl. 1);
      metals in foil and powder form for use in painting, decorating, printing and art (Cl. 2);
      electric cables (Cl. 9) and non-electric cables and ropes, not of metal (Cl. 22);
      pipes being parts of sanitary installations (Cl. 11), flexible pipes, tubes and hoses, not of metal (Cl. 17) and rigid
      pipes, not of metal (Cl. 19);
      cages for household pets (Cl. 21);
      certain goods made of common metals that are classified according to their function or purpose, for example,
      hand tools, hand-operated (Cl. 8), paper clips (Cl. 16), furniture (Cl. 20), kitchen utensils (Cl. 21), household
      containers (Cl. 21).

  Class 7
  Machines, machine tools, power-operated tools;
  motors and engines, except for land vehicles;
  machine coupling and transmission components, except for land vehicles;
  agricultural implements, other than hand-operated hand tools;
  incubators for eggs;
  automatic vending machines.

  Explanatory note
  Class 7 includes mainly machines and machine tools, motors and engines.

  This Class includes, in particular:

      parts of motors and engines of all kinds, for example, starters, mufflers and cylinders for motors and engines of
      any type;
      electric cleaning and polishing apparatus, for example, electric shoe polishers, electric machines and apparatus for
      carpet shampooing and vacuum cleaners;
      3D printers;
      industrial robots;
      certain special vehicles not for transportation purposes, for example, road sweeping machines, road making
      machines, bulldozers, snow ploughs, as well as rubber tracks as parts of those vehicles’ crawlers.
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  This Class does not include, in particular:

      hand tools and implements, hand-operated (Cl. 8);
      humanoid robots with artificial intelligence, laboratory robots, teaching robots, security surveillance robots (Cl. 9),
      surgical robots (Cl. 10), robotic cars (Cl. 12), robotic drums (Cl. 15), toy robots (Cl. 28);
      motors and engines for land vehicles (Cl. 12);
      treads for vehicles, as well as tyres for all kinds of vehicle wheels (Cl. 12);
      certain special machines, for example, automated teller machines (Cl. 9), respirators for artificial respiration
      (Cl. 10), refrigerating apparatus and machines (Cl. 11).

  Class 8
  Hand tools and implements, hand-operated;
  cutlery;
  side arms, except firearms;
  razors.

  Explanatory note
  Class 8 includes mainly hand-operated tools and implements for performing tasks, such as drilling, shaping, cutting
  and piercing.

  This Class includes, in particular:

      hand-operated agricultural, gardening and landscaping tools;
      hand-operated tools for carpenters, artists and other craftspersons, for example, hammers, chisels and gravers;
      handles for hand-operated hand tools, such as knives and scythes;
      electric and non-electric hand implements for personal grooming and body art, for example, razors, implements
      for hair curling, tattooing, and for manicure and pedicure;
      hand-operated pumps;
      table cutlery, such as knives, forks and spoons, including those made of precious metals.

  This Class does not include, in particular:

      machine tools and implements driven by a motor (Cl. 7);
      surgical cutlery (Cl. 10);
      pumps for bicycle tyres (Cl. 12), pumps specially adapted for use with balls for games (Cl. 28);
      side arms being firearms (Cl. 13);
      paper knives and paper shredders for office use (Cl. 16);
      handles for objects that are classified in various classes according to their function or purpose, for example,
      walking stick handles, umbrella handles (Cl. 18), broom handles (Cl. 21);
      serving utensils, for example, sugar tongs, ice tongs, pie servers and serving ladles, and kitchen utensils, for
      example, mixing spoons, pestles and mortars, nutcrackers and spatulas (Cl. 21);
      fencing weapons (Cl. 28).

  Class 9
  Scientific, research, navigation, surveying, photographic, cinematographic, audiovisual, optical, weighing, measuring,
  signalling, detecting, testing, inspecting, life-saving and teaching apparatus and instruments;
  apparatus and instruments for conducting, switching, transforming, accumulating, regulating or controlling the
  distribution or use of electricity;
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  apparatus and instruments for recording, transmitting, reproducing or processing sound, images or data;
  recorded and downloadable media, computer software, blank digital or analogue recording and storage media;
  mechanisms for coin-operated apparatus;
  cash registers, calculating devices;
  computers and computer peripheral devices;
  diving suits, divers’ masks, ear plugs for divers, nose clips for divers and swimmers, gloves for divers, breathing
  apparatus for underwater swimming;
  fire-extinguishing apparatus.

  Explanatory note
  Class 9 includes mainly apparatus and instruments for scientific or research purposes, audiovisual and information
  technology equipment, as well as safety and life-saving equipment.

  This Class includes, in particular:

      apparatus and instruments for scientific research in laboratories;
      training apparatus and simulators, for example, resuscitation mannequins, simulators for the steering and control
      of vehicles;
      apparatus and instruments for controlling and monitoring aircraft, watercraft and unmanned vehicles, for
      example, navigational instruments, transmitters, compasses for measuring, GPS apparatus, automatic steering
      apparatus for vehicles;
      safety and security apparatus and instruments, for example, safety nets, signalling lights, traffic-light apparatus,
      fire engines, sound alarms, security tokens being encryption devices;
      clothing that protects against serious or life-threatening injuries, for example, clothing for protection against
      accidents, irradiation and fire, bullet-proof clothing, protective helmets, head guards for sports, mouth guards for
      sports, protective suits for aviators, knee-pads for workers;
      optical apparatus and instruments, for example, eyeglasses, contact lenses, magnifying glasses, mirrors for
      inspecting work, peepholes;
      magnets;
      smartwatches, wearable activity trackers;
      joysticks for use with computers, other than for video games, virtual reality headsets, smartglasses;
      eyeglass cases, cases for smartphones, cases especially made for photographic apparatus and instruments;
      automated teller machines, invoicing machines, material testing instruments and machines;
      batteries and chargers for electronic cigarettes;
      electric and electronic effects units for musical instruments;
      laboratory robots, teaching robots, security surveillance robots, humanoid robots with artificial intelligence for use
      in scientific research.

  This Class does not include, in particular:

      joysticks being parts of machines, other than for game machines (Cl. 7), vehicle joysticks (Cl. 12), joysticks for
      video games, controllers for toys and game consoles (Cl. 28);
      coin-operated apparatus that are classified in various classes according to their function or purpose, for example,
      coin-operated washing machines (Cl. 7), coin‑operated billiard tables (Cl. 28);
      industrial robots (Cl. 7), surgical robots (Cl. 10), toy robots (Cl. 28);
      pulse meters, heart rate monitoring apparatus, body composition monitors (Cl. 10);
      laboratory lamps, laboratory burners (Cl. 11);

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      diving lights (Cl. 11);
      explosive fog signals, signal rocket flares (Cl. 13);
      histological sections for teaching purposes, biological samples for use in microscopy as teaching materials (Cl. 16);
      clothing and equipment worn for the practice of certain sports, for example, protective paddings being parts of
      sports suits, fencing masks, boxing gloves (Cl. 28).

  Class 10
  Surgical, medical, dental and veterinary apparatus and instruments;
  artificial limbs, eyes and teeth;
  orthopaedic articles;
  suture materials;
  therapeutic and assistive devices adapted for persons with disabilities;
  massage apparatus;
  apparatus, devices and articles for nursing infants;
  sexual activity apparatus, devices and articles.

  Explanatory note
  Class 10 includes mainly surgical, medical, dental and veterinary apparatus, instruments and articles generally used
  for the diagnosis, treatment or improvement of function or condition of persons and animals.

  This Class includes, in particular:

      support bandages, orthopaedic bandages;
      special clothing for medical purposes, for example, compression garments, stockings for varices, strait jackets,
      orthopaedic footwear;
      articles, instruments and devices for menstruation, contraception and childbirth, for example, menstrual cups,
      pessaries, condoms, childbirth mattresses, forceps;
      therapeutic and prosthetic articles and devices for implantation made of artificial or synthetic materials, for
      example, surgical implants comprised of artificial materials, artificial breasts, brain pacemakers, biodegradable
      bone fixation implants;
      furniture especially made for medical purposes, for example, armchairs for medical or dental purposes, air
      mattresses for medical purposes, operating tables.

  This Class does not include, in particular:

      medical dressings and absorbent sanitary articles, for example, plasters, bandages and gauze for dressings,
      breast-nursing pads, diapers for babies and for incontinence, tampons (Cl. 5);
      surgical implants comprised of living tissue (Cl. 5);
      tobacco-free cigarettes for medical purposes (Cl. 5) and electronic cigarettes (Cl. 34);
      wheelchairs and mobility scooters (Cl. 12);
      massage tables and hospital beds (Cl. 20).

  Class 11
  Apparatus and installations for lighting, heating, cooling, steam generating, cooking, drying, ventilating, water supply
  and sanitary purposes.

  Explanatory note

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  Class 11 includes mainly environmental control apparatus and installations, in particular, for the purposes of lighting,
  cooking, cooling and sanitizing.

  This Class includes, in particular:

      air-conditioning apparatus and installations;
      ovens, other than for laboratory use, for example, dental ovens, microwave ovens, bakers’ ovens;
      stoves being heating apparatus;
      solar thermal collectors;
      chimney flues, chimney blowers, hearths, domestic fireplaces;
      sterilizers, incinerators;
      lighting apparatus and installations, for example, luminous tubes for lighting, searchlights, luminous house
      numbers, vehicle reflectors, lights for vehicles;
      lamps, for example, electric lamps, gas lamps, laboratory lamps, oil lamps, street lamps, safety lamps;
      tanning beds;
      bath installations, bath fittings, bath plumbing fixtures;
      toilets, urinals;
      fountains, chocolate fountains;
      electrically heated pads, cushions and blankets, not for medical purposes;
      hot water bottles;
      electrically heated clothing;
      electric appliances for making yogurt, bread-making machines, coffee machines, ice-cream making machines;
      ice machines and apparatus.

  This Class does not include, in particular:

      steam producing apparatus being parts of machines (Cl. 7);
      air condensers (Cl. 7);
      current generators, generators of electricity (Cl. 7);
      soldering lamps (Cl. 7), optical lamps, darkroom lamps (Cl. 9), lamps for medical purposes (Cl. 10);
      ovens for laboratory use (Cl. 9);
      photovoltaic cells (Cl. 9);
      signalling lights (Cl. 9);
      electrically heated pads, cushions and blankets, for medical purposes (Cl. 10);
      portable baby baths (Cl. 21);
      non-electric portable coolers (Cl. 21);
      cooking utensils that do not have an integrated heat source, for example, non-electric griddles and grills, non-
      electric waffle irons, non-electric pressure cookers (Cl. 21);
      footmuffs, not electrically heated (Cl. 25).

  Class 12
  Vehicles;
  apparatus for locomotion by land, air or water.

  Explanatory note
  Class 12 includes mainly vehicles and apparatus for the transport of people or goods by land, air or water.

  This Class includes, in particular:
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      motors and engines for land vehicles;
      couplings and transmission components for land vehicles;
      air cushion vehicles;
      remote control vehicles, other than toys;
      parts of vehicles, for example, bumpers, windscreens, steering wheels;
      treads for vehicles, as well as tyres for all kinds of vehicle wheels.

  This Class does not include, in particular:

      railway material of metal (Cl. 6);
      motors, engines, couplings and transmission components, other than for land vehicles (Cl. 7);
      parts of all kinds of motors and engines, for example, starters, mufflers and cylinders for motors and engines
      (Cl. 7);
      rubber tracks being parts of crawlers on construction, mining, agricultural and other heavy-duty machines (Cl. 7);
      tricycles for infants and scooters, being toys (Cl. 28);
      certain special vehicles or wheeled apparatus not for transportation purposes, for example, self-propelled road
      sweeping machines (Cl. 7), fire engines (Cl. 9), tea carts (Cl. 20);
      certain parts of vehicles, for example, electric batteries, mileage recorders and radios for vehicles (Cl. 9), lights for
      automobiles and bicycles (Cl. 11), automobile carpets (Cl. 27).

  Class 13
  Firearms;
  ammunition and projectiles;
  explosives;
  fireworks.

  Explanatory note
  Class 13 includes mainly firearms and pyrotechnic products.

  This Class includes, in particular:

      rescue flares, explosive or pyrotechnic;
      flare pistols;
      sprays for personal defence purposes;
      explosive fog signals, signal rocket flares;
      air pistols being weapons;
      bandoliers for weapons;
      sporting firearms, hunting firearms.

  This Class does not include, in particular:

      grease for weapons (Cl. 4);
      blades being weapons (Cl. 8);
      side arms, other than firearms (Cl. 8);
      non-explosive fog signals, rescue laser signalling flares (Cl. 9);
      telescopic sights for firearms (Cl. 9);
      flaming torches (Cl. 11);
      Christmas crackers (Cl. 28);
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      percussion caps being toys (Cl. 28);
      toy air pistols (Cl. 28);
      matches (Cl. 34).

  Class 14
  Precious metals and their alloys;
  jewellery, precious and semi-precious stones;
  horological and chronometric instruments.

  Explanatory note
  Class 14 includes mainly precious metals and certain goods made of precious metals or coated therewith, as well as
  jewellery, clocks and watches, and component parts therefor.

  This Class includes, in particular:

      jewellery, including imitation jewellery, for example, paste jewellery;
      cuff links, tie pins, tie clips;
      key rings, key chains and charms therefor;
      jewellery charms;
      jewellery boxes;
      component parts for jewellery, clocks and watches, for example, clasps and beads for jewellery, movements for
      clocks and watches, clock hands, watch springs, watch crystals.

  This Class does not include, in particular:

      smartwatches (Cl. 9);
      charms, other than for jewellery, key rings or key chains (Cl. 26);
      objects of art not made of precious metals or coated therewith that are classified according to the material of
      which they are made, for example, works of art of metal (Cl. 6), of stone, concrete or marble (Cl. 19), of wood, wax,
      plaster or plastic (Cl. 20), of porcelain, ceramic, earthenware, terra-cotta or glass (Cl. 21);
      certain goods made of precious metals or coated therewith that are classified according to their function or
      purpose, for example, metals in foil and powder form for use in painting, decorating, printing and art (Cl. 2),
      dental amalgams of gold (Cl. 5), cutlery (Cl. 8), electric contacts (Cl. 9), pen nibs of gold (Cl. 16), teapots (Cl. 21),
      gold and silver embroidery (Cl. 26), cigar boxes (Cl. 34).

  Class 15
  Musical instruments;
  music stands and stands for musical instruments;
  conductors’ batons.

  Explanatory note
  Class 15 includes mainly musical instruments, their parts and their accessories.

  This Class includes, in particular:

      mechanical musical instruments and their accessories, for example, barrel organs, mechanical pianos, intensity
      regulators for mechanical pianos, robotic drums;
      musical boxes;

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      electrical and electronic musical instruments;
      strings, reeds, pegs and pedals for musical instruments;
      tuning forks, tuning hammers;
      colophony (rosin) for stringed musical instruments.

  This Class does not include, in particular:

      apparatus for the recording, transmission, amplification and reproduction of sound, for example, electric and
      electronic effects units for musical instruments, wah-wah pedals, audio interfaces, audio mixers, equalisers being
      audio apparatus, subwoofers (Cl. 9);
      downloadable music files (Cl. 9);
      downloadable electronic sheet music (Cl. 9), printed sheet music (Cl. 16);
      juke boxes, musical (Cl. 9);
      metronomes (Cl. 9);
      musical greeting cards (Cl. 16).

  Class 16
  Paper and cardboard;
  printed matter;
  bookbinding material;
  photographs;
  stationery and office requisites, except furniture;
  adhesives for stationery or household purposes;
  drawing materials and materials for artists;
  paintbrushes;
  instructional and teaching materials;
  plastic sheets, films and bags for wrapping and packaging;
  printers’ type, printing blocks.

  Explanatory note
  Class 16 includes mainly paper, cardboard and certain goods made of those materials, as well as office requisites.

  This Class includes, in particular:

      paper knives and paper cutters;
      cases, covers and devices for holding or securing paper, for example, document files, money clips, holders for
      cheque books, paper-clips, passport holders, scrapbooks;
      certain office machines, for example, typewriters, duplicators, franking machines for office use, pencil sharpeners;
      painting articles for use by artists and interior and exterior painters, for example, artists’ watercolour saucers,
      painters’ easels and palettes, paint rollers and trays;
      certain disposable paper products, for example, bibs, handkerchiefs and table linen of paper;
      certain goods made of paper or cardboard not otherwise classified by function or purpose, for example, paper
      bags, envelopes and containers for packaging, statues, figurines and works of art of paper or cardboard, such as
      figurines of papier mâché, framed or unframed lithographs, paintings and watercolours.

  This Class does not include, in particular:

      paints (Cl. 2);

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      hand tools for artists, for example, spatulas, sculptors’ chisels (Cl. 8);
      teaching apparatus, for example, audiovisual teaching apparatus, resuscitation mannequins (Cl. 9), and toy models
      (Cl. 28);
      certain goods made of paper or cardboard that are classified according to their function or purpose, for example,
      photographic paper (Cl. 1), abrasive paper (Cl. 3), paper blinds (Cl. 20), table cups and plates of paper (Cl. 21), bed
      linen of paper (Cl. 24), paper clothing (Cl. 25), cigarette paper (Cl. 34).

  Class 17
  Unprocessed and semi-processed rubber, gutta-percha, gum, asbestos, mica and substitutes for all these materials;
  plastics and resins in extruded form for use in manufacture;
  packing, stopping and insulating materials;
  flexible pipes, tubes and hoses, not of metal.

  Explanatory note
  Class 17 includes mainly electrical, thermal and acoustic insulating materials and plastics for use in manufacture in
  the form of sheets, blocks and rods, as well as certain goods made of rubber, gutta-percha, gum, asbestos, mica or
  substitutes therefor.

  This Class includes, in particular:

      rubber material for recapping tyres;
      floating anti-pollution barriers;
      adhesive tapes, other than stationery and not for medical or household purposes;
      plastic films, other than for wrapping and packaging, for example, anti-dazzle films for windows;
      elastic threads and threads of rubber or plastic, not for textile use;
      certain goods made of the materials in this class not otherwise classified by function or purpose, for example,
      foam supports for flower arrangements, padding and stuffing materials of rubber or plastics, rubber stoppers,
      shock-absorbing buffers of rubber, rubber bags or envelopes for packaging.

  This Class does not include, in particular:

      fire hose (Cl. 9);
      pipes being parts of sanitary installations (Cl. 11) and rigid pipes of metal (Cl. 6) and not of metal (Cl. 19);
      insulating glass for building (Cl. 19);
      certain goods made of the materials in this class that are classified according to their function or purpose, for
      example, gum resins (Cl. 2), rubber for dental purposes (Cl. 5), asbestos screens for firemen (Cl. 9), adhesive
      rubber patches for repairing inner tubes (Cl. 12), rubber erasers (Cl. 16).

  Class 18
  Leather and imitations of leather;
  animal skins and hides;
  luggage and carrying bags;
  umbrellas and parasols;
  walking sticks;
  whips, harness and saddlery;
  collars, leashes and clothing for animals.

  Explanatory note
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  Class 18 includes mainly leather, imitations of leather and certain goods made of those materials.

  This Class includes, in particular:

      luggage and carrying bags, for example, suitcases, trunks, travelling bags, sling bags for carrying infants, school
      bags;
      luggage or baggage tags;
      business card cases and pocket wallets;
      boxes and cases of leather or leatherboard.

  This Class does not include, in particular:

      walking sticks or canes for medical purposes (Cl. 10);
      clothing, footwear and headwear of leather for human beings (Cl. 25);
      bags and cases adapted to the product they are intended to contain, for example, bags adapted for laptops
      (Cl. 9), bags and cases for cameras and photographic equipment (Cl. 9), cases for musical instruments (Cl. 15), golf
      bags with or without wheels, bags especially designed for skis and surfboards (Cl. 28);
      certain goods made of leather, imitations of leather, animal skins and hides that are classified according to their
      function or purpose, for example, leather strops (Cl. 8), polishing leather (Cl. 21), chamois leather for cleaning
      (Cl. 21), leather belts for clothing (Cl. 25).

  Class 19
  Materials, not of metal, for building and construction;
  rigid pipes, not of metal, for building;
  asphalt, pitch, tar and bitumen;
  transportable buildings, not of metal;
  monuments, not of metal.

  Explanatory note
  Class 19 includes mainly materials, not of metal, for building and construction.

  This Class includes, in particular:

      semi-worked woods for use in building, for example, beams, planks, panels;
      wood veneers;
      building glass, for example, glass tiles, insulating glass for building, safety glass;
      glass granules for marking out roads;
      granite, marble, gravel;
      terra-cotta for use as a building material;
      roofing, not of metal, incorporating photovoltaic cells;
      gravestones and tombs, not of metal;
      statues, busts and works of art of stone, concrete or marble;
      letter boxes of masonry;
      geotextiles;
      coatings being building materials;
      scaffolding, not of metal;
      transportable buildings or structures, not of metal, for example, aquaria, aviaries, flagpoles, porches, swimming
      pools.

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  This Class does not include, in particular:

      cement preservatives, cement-waterproofing preparations (Cl. 1);
      fireproofing preparations (Cl. 1);
      wood preservatives (Cl. 2);
      oils for releasing form work for building (Cl. 4);
      letter boxes of metal (Cl. 6) and not of metal or masonry (Cl. 20);
      statues, busts and works of art of common metal (Cl. 6), of precious metal (Cl. 14), of wood, wax, plaster or plastic
      (Cl. 20), of porcelain, ceramic, earthenware, terra-cotta or glass (Cl. 21);
      certain pipes, not of metal, not for building, for example, pipes being parts of sanitary installations (Cl. 11), flexible
      pipes, tubes and hoses, not of metal (Cl. 17);
      substances for insulating buildings against moisture (Cl. 17);
      glass for vehicle windows (semi-finished product) (Cl. 21);
      birdcages (Cl. 21);
      mats and matting, linoleum and other materials for covering existing floors (Cl. 27);
      unsawn or undressed timber (Cl. 31).

  Class 20
  Furniture, mirrors, picture frames;
  containers, not of metal, for storage or transport;
  unworked or semi-worked bone, horn, whalebone or mother-of-pearl;
  shells;
  meerschaum;
  yellow amber.

  Explanatory note
  Class 20 includes mainly furniture and parts therefor, as well as certain goods made of wood, cork, reed, cane, wicker,
  horn, bone, ivory, whalebone, shell, amber, mother-of-pearl, meerschaum and substitutes for all these materials, or of
  plastic.

  This Class includes, in particular:

      metal furniture, furniture for camping, gun racks, newspaper display stands;
      indoor window blinds and shades;
      bedding, for example, mattresses, bed bases, pillows;
      looking glasses, furniture and toilet mirrors;
      registration plates, not of metal;
      small items of hardware, not of metal, for example, bolts, screws, dowels, furniture casters, collars for fastening
      pipes;
      letter boxes, not of metal or masonry.

  This Class does not include, in particular:

      special furniture for laboratories (Cl. 9) or for medical use (Cl. 10);
      outdoor blinds of metal (Cl. 6), not of metal and not of textile (Cl. 19), of textile (Cl. 22);
      bed linen, eiderdowns and sleeping bags (Cl. 24);
      certain mirrors for specific uses, for example, mirrors used in optical goods (Cl. 9), mirrors used in surgery or
      dentistry (Cl. 10), rearview mirrors (Cl. 12), sighting mirrors for guns (Cl. 13);
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      certain goods made of wood, cork, reed, cane, wicker, horn, bone, ivory, whalebone, shell, amber, mother-of-
      pearl, meerschaum and substitutes for all these materials, or of plastic, that are classified according to their
      function or purpose, for example, beads for making jewellery (Cl. 14), wooden floor boards (Cl. 19), baskets for
      domestic use (Cl. 21), plastic cups (Cl. 21), reed mats (Cl. 27).

  Class 21
  Household or kitchen utensils and containers;
  cookware and tableware, except forks, knives and spoons;
  combs and sponges;
  brushes, except paintbrushes;
  brush-making materials;
  articles for cleaning purposes;
  unworked or semi-worked glass, except building glass;
  glassware, porcelain and earthenware.

  Explanatory note
  Class 21 includes mainly small, hand-operated utensils and apparatus for household and kitchen use, as well as
  cosmetic and toilet utensils, glassware and certain goods made of porcelain, ceramic, earthenware, terra-cotta or
  glass.

  This Class includes, in particular:

      household and kitchen utensils, for example, fly swatters, clothes-pegs, mixing spoons, basting spoons and
      corkscrews, as well as serving utensils, for example, sugar tongs, ice tongs, pie servers and serving ladles;
      household, kitchen and cooking containers, for example, vases, bottles, piggy banks, pails, cocktail shakers,
      cooking pots and pans, and non-electric kettles and pressure cookers;
      small hand-operated kitchen apparatus for mincing, grinding, pressing or crushing, for example, garlic presses,
      nutcrackers, pestles and mortars;
      dish stands and decanter stands;
      cosmetic utensils, for example, electric and non-electric combs and toothbrushes, dental floss, foam toe
      separators for use in pedicures, powder puffs, fitted vanity cases;
      gardening articles, for example, gardening gloves, window-boxes, watering cans and nozzles for watering hose;
      indoor aquaria, terrariums and vivariums.

  This Class does not include, in particular:

      cleaning preparations (Cl. 3);
      containers for storage and transport of goods, of metal (Cl. 6), not of metal (Cl. 20);
      small apparatus for mincing, grinding, pressing or crushing, which are driven by electricity (Cl. 7);
      razors and shaving apparatus, hair and nail clippers, electric and non-electric implements for manicure and
      pedicure, for example, manicure sets, emery boards, cuticle nippers (Cl. 8);
      table cutlery (Cl. 8) and hand-operated cutting tools for kitchen use, for example, vegetable shredders, pizza
      cutters, cheese slicers (Cl. 8);
      lice combs, tongue scrapers (Cl. 10);
      cooking utensils, electric (Cl. 11);
      toilet mirrors (Cl. 20);



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      certain goods made of glass, porcelain and earthenware that are classified according to their function or purpose,
      for example, porcelain for dental prostheses (Cl. 5), spectacle lenses (Cl. 9), glass wool for insulation, acrylic or
      organic glass, semi-processed (Cl. 17), earthenware tiles (Cl. 19), building glass (Cl. 19), glass fibres for textile use
      (Cl. 22).

  Class 22
  Ropes and string;
  nets;
  tents and tarpaulins;
  awnings of textile or synthetic materials;
  sails;
  sacks for the transport and storage of materials in bulk;
  padding, cushioning and stuffing materials, except of paper, cardboard, rubber or plastics;
  raw fibrous textile materials and substitutes therefor.

  Explanatory note
  Class 22 includes mainly canvas and other materials for making sails, rope, padding, cushioning and stuffing materials
  and raw fibrous textile materials.

  This Class includes, in particular:

      cords and twines made of natural or artificial textile fibres, paper or plastics;
      fishing nets, hammocks, rope ladders;
      vehicle covers, not fitted;
      certain sacks and bags not otherwise classified by function or purpose, for example, mesh bags for washing
      laundry, body bags, mail bags;
      packaging bags of textile;
      animal fibres and raw textile fibres, for example, animal hair, cocoons, jute, raw or treated wool, raw silk.

  This Class does not include, in particular:

      metal ropes (Cl. 6);
      strings for musical instruments (Cl. 15) and for sports rackets (Cl. 28);
      padding and stuffing materials of paper or cardboard (Cl. 16), rubber or plastics (Cl. 17);
      certain nets and bags that are classified according to their function or purpose, for example, safety nets (Cl. 9),
      luggage nets for vehicles (Cl. 12), garment bags for travel (Cl. 18), hair nets (Cl. 26), golf bags (Cl. 28), nets for
      sports (Cl. 28);
      packaging bags, not of textile, which are classified according to the material of which they are made, for example,
      packaging bags of paper or plastics (Cl. 16), of rubber (Cl. 17), of leather (Cl. 18).



  Class 23
  Yarns and threads for textile use.

  Explanatory note
  Class 23 includes mainly natural or synthetic yarns and threads for textile use.

  This Class includes, in particular:
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      fibreglass, elastic, rubber and plastic threads for textile use;
      threads for embroidery, darning and sewing, including those of metal;
      spun silk, spun cotton, spun wool.

  This Class does not include, in particular:

      certain threads for specific uses, for example, identification threads for electric wires (Cl. 9), surgical thread (Cl. 10),
      threads of precious metal being jewellery (Cl. 14);
      threads, other than for textile use, that are classified according to the material of which they are made, for
      example, threads for binding of metal (Cl. 6) and not of metal (Cl. 22), elastic threads, threads of rubber or plastic
      (Cl. 17), fibreglass threads (Cl. 21).



  Class 24
  Textiles and substitutes for textiles;
  household linen;
  curtains of textile or plastic.

  Explanatory note
  Class 24 includes mainly fabrics and fabric covers for household use.

  This Class includes, in particular:

      household linen, for example, bedspreads, pillow shams, towels of textile;
      bed linen of paper;
      sleeping bags, sleeping bag liners;
      mosquito nets.

  This Class does not include, in particular:

      electrically heated blankets, for medical purposes (Cl. 10) and not for medical purposes (Cl. 11);
      table linen of paper (Cl. 16);
      asbestos safety curtains (Cl. 17), bamboo curtains and bead curtains for decoration (Cl. 20);
      horse blankets (Cl. 18);
      certain textiles and fabrics for specific uses, for example, fabrics for bookbinding (Cl. 16), insulating fabrics (Cl. 17),
      geotextiles (Cl. 19).



  Class 25
  Clothing, footwear, headwear.

  Explanatory note
  Class 25 includes mainly clothing, footwear and headwear for human beings.

  This Class includes, in particular:

      parts of clothing, footwear and headwear, for example, cuffs, pockets, ready-made linings, heels and heelpieces,
      cap peaks, hat frames (skeletons);

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      clothing and footwear for sports, for example, ski gloves, sports singlets, cyclists’ clothing, judo and karate
      uniforms, football shoes, gymnastic shoes, ski boots;
      masquerade costumes;
      paper clothing, paper hats for use as clothing;
      bibs, not of paper;
      pocket squares;
      footmuffs, not electrically heated.

  This Class does not include, in particular:

      small items of hardware used in shoemaking, for example, shoe pegs and shoe dowels of metal (Cl. 6) and not of
      metal (Cl. 20), as well as haberdashery accessories and fastenings for clothing, footwear and headwear, for
      example, clasps, buckles, zippers, ribbons, hatbands, hat and shoe trimmings (Cl. 26);
      certain clothing, footwear and headwear for special use, for example, protective helmets, including for sports
      (Cl. 9), clothing for protection against fire (Cl. 9), clothing especially for operating rooms (Cl. 10), orthopaedic
      footwear (Cl. 10), as well as clothing and footwear that are essential for the practice of certain sports, for example,
      baseball gloves, boxing gloves, ice skates (Cl. 28);
      electrically heated clothing (Cl. 11);
      electrically heated footmuffs (Cl. 11), fitted footmuffs for pushchairs and prams (Cl. 12);
      bibs of paper (Cl. 16);
      handkerchiefs of paper (Cl. 16) and of textile (Cl. 24);
      clothing for animals (Cl. 18);
      carnival masks (Cl. 28);
      dolls’ clothes (Cl. 28);
      paper party hats (Cl. 28).

  Class 26
  Lace, braid and embroidery, and haberdashery ribbons and bows;
  buttons, hooks and eyes, pins and needles;
  artificial flowers;
  hair decorations;
  false hair.

  Explanatory note
  Class 26 includes mainly dressmakers’ articles, natural or synthetic hair for wear, and hair adornments, as well as small
  decorative items intended to adorn a variety of objects, not included in other classes.

  This Class includes, in particular:

      wigs, toupees, false beards;
      barrettes, hair bands;
      ribbons and bows being haberdashery or used as hair decorations, made of any material;
      ribbons and bows for gift wrapping, not of paper;
      hair nets;
      buckles, zippers;
      charms, other than for jewellery, key rings or key chains;
      artificial Christmas garlands and wreaths, including those incorporating lights;

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      certain articles for curling hair, for example, electric and non-electric hair curlers, other than hand implements,
      hair curling pins, hair curling paper.

  This Class does not include, in particular:

      false eyelashes (Cl. 3);
      hooks being small items of metal hardware (Cl. 6) or hardware, not of metal (Cl. 20), curtain hooks (Cl. 20);
      certain special types of needles, for example, tattoo needles (Cl. 8), needles for surveying compasses (Cl. 9),
      needles for medical purposes (Cl. 10), needles for pumps for inflating balls for games (Cl. 28);
      hand implements for curling hair, for example, curling tongs, eyelash curlers (Cl. 8);
      hair prostheses (Cl. 10);
      jewellery charms, charms for key rings or key chains (Cl. 14);
      certain ribbons and bows, for example, paper ribbons and bows, other than haberdashery or hair decorations
      (Cl. 16), rhythmic gymnastics ribbons (Cl. 28);
      yarns and threads for textile use (Cl. 23);
      Christmas trees of synthetic material (Cl. 28).

  Class 27
  Carpets, rugs, mats and matting, linoleum and other materials for covering existing floors;
  wall hangings, not of textile.

  Explanatory note
  Class 27 includes mainly products intended to be added as coverings to previously constructed floors and walls.

  This Class includes, in particular:

      automobile carpets;
      mats being floor coverings, for example, bath mats, door mats, gymnastic mats, yoga mats;
      artificial turf;
      wallpaper, including textile wallpaper.

  This Class does not include, in particular:

      floors, floorings and floor tiles of metal (Cl. 6) and not of metal (Cl. 19), wooden floor boards (Cl. 19);
      electrically heated carpets (Cl. 11);
      geotextiles (Cl. 19);
      mats for infant playpens (Cl. 20);
      wall hangings of textile (Cl. 24).

  Class 28
  Games, toys and playthings;
  video game apparatus;
  gymnastic and sporting articles;
  decorations for Christmas trees.

  Explanatory note
  Class 28 includes mainly toys, apparatus for playing games, sports equipment, amusement and novelty items, as well
  as certain articles for Christmas trees.

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  This Class includes, in particular:

      amusement and game apparatus, including controllers therefor;
      novelty toys for playing jokes and for parties, for example, carnival masks, paper party hats, confetti, party
      poppers and Christmas crackers;
      hunting and fishing tackle, for example, fishing rods, landing nets for anglers, decoys, hunting game calls;
      equipment for various sports and games.

  This Class does not include, in particular:

      Christmas tree candles (Cl. 4), electric lights for Christmas trees (Cl. 11), confectionery and chocolate decorations
      for Christmas trees (Cl. 30);
      diving equipment (Cl. 9);
      sex toys and love dolls (Cl. 10);
      clothing for gymnastics and sports (Cl. 25);
      certain gymnastic and sporting articles, for example, protective helmets, goggles and mouthguards for sports
      (Cl. 9), sporting firearms (Cl. 13), gymnasium mats (Cl. 27), as well as certain fishing and hunting equipment, for
      example, hunting knives, harpoons (Cl. 8), hunting firearms (Cl. 13), fishing nets (Cl. 22), that are classified
      according to other functions or purposes.

  Class 29
  Meat, fish, poultry and game;
  meat extracts;
  preserved, frozen, dried and cooked fruits and vegetables;
  jellies, jams, compotes;
  eggs;
  milk, cheese, butter, yogurt and other milk products;
  oils and fats for food.

  Explanatory note
  Class 29 includes mainly foodstuffs of animal origin, as well as vegetables and other horticultural comestible products
  which are prepared or preserved for consumption.

  This Class includes, in particular:

      meat-, fish-, fruit- or vegetable-based food;
      edible insects;
      milk beverages with milk predominating;
      milk substitutes, for example, almond milk, coconut milk, peanut milk, rice milk, soya milk;
      preserved mushrooms;
      pulses and nuts prepared for human consumption;
      seeds prepared for human consumption, not being seasonings or flavourings.

  This Class does not include, in particular:

      oils and fats, other than for food, for example, essential oils (Cl. 3), industrial oil (Cl. 4), castor oil for medical
      purposes (Cl. 5);
      baby food (Cl. 5);

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      dietetic food and substances adapted for medical use (Cl. 5);
      dietary supplements (Cl. 5);
      salad dressings (Cl. 30);
      processed seeds for use as a seasoning (Cl. 30);
      chocolate-coated nuts (Cl. 30);
      fresh and unprocessed fruits, vegetables, nuts and seeds (Cl. 31);
      foodstuffs for animals (Cl. 31);
      live animals (Cl. 31);
      seeds for planting (Cl. 31).

  Class 30
  Coffee, tea, cocoa and substitutes therefor;
  rice, pasta and noodles;
  tapioca and sago;
  flour and preparations made from cereals;
  bread, pastries and confectionery;
  chocolate;
  ice cream, sorbets and other edible ices;
  sugar, honey, treacle;
  yeast, baking-powder;
  salt, seasonings, spices, preserved herbs;
  vinegar, sauces and other condiments;
  ice (frozen water).

  Explanatory note
  Class 30 includes mainly foodstuffs of plant origin, except fruits and vegetables, prepared or preserved for
  consumption, as well as auxiliaries intended for the improvement of the flavour of food.

  This Class includes, in particular:

      beverages with coffee, cocoa, chocolate or tea base;
      cereals prepared for human consumption, for example, oat flakes, corn chips, husked barley, bulgur, muesli;
      pizza, pies, sandwiches;
      chocolate-coated nuts;
      flavourings, other than essential oils, for food or beverages.

  This Class does not include, in particular:

      salt for industrial purposes (Cl. 1);
      food or beverage flavourings being essential oils (Cl. 3);
      medicinal teas and dietetic food and substances adapted for medical use (Cl. 5);
      baby food (Cl. 5);
      dietary supplements (Cl. 5);
      yeast for pharmaceutical purposes (Cl. 5), yeast for animal consumption (Cl. 31);
      milk beverages flavoured with coffee, cocoa, chocolate or tea (Cl. 29);
      soups, bouillon (Cl. 29);
      raw cereals (Cl. 31);

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      fresh herbs (Cl. 31);
      foodstuffs for animals (Cl. 31).

  Class 31
  Raw and unprocessed agricultural, aquacultural, horticultural and forestry products;
  raw and unprocessed grains and seeds;
  fresh fruits and vegetables, fresh herbs;
  natural plants and flowers;
  bulbs, seedlings and seeds for planting;
  live animals;
  foodstuffs and beverages for animals;
  malt.

  Explanatory note
  Class 31 includes mainly land and sea products not having been subjected to any form of preparation for
  consumption, live animals and plants, as well as food­stuffs for animals.

  This Class includes, in particular:

      unprocessed cereals;
      fresh fruits and vegetables, even after washing or waxing;
      plant residue;
      unprocessed algae;
      unsawn timber;
      fertilised eggs for hatching;
      fresh mushrooms and truffles;
      litter for animals, for example, aromatic sand, sanded paper for pets.

  This Class does not include, in particular:

      cultures of micro-organisms and leeches for medical purposes (Cl. 5);
      dietary supplements for animals and medicated animal feed (Cl. 5);
      semi-worked woods (Cl. 19);
      artificial fishing bait (Cl. 28);
      rice (Cl. 30);
      tobacco (Cl. 34).

  Class 32
  Beers;
  non-alcoholic beverages;
  mineral and aerated waters;
  fruit beverages and fruit juices;
  syrups and other preparations for making non-alcoholic beverages.

  Explanatory note
  Class 32 includes mainly non-alcoholic beverages, as well as beer.

  This Class includes, in particular:

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      de-alcoholised beverages;
      soft drinks;
      rice-based and soya-based beverages, other than milk substitutes;
      energy drinks, isotonic beverages, protein-enriched sports beverages;
      non-alcoholic essences and fruit extracts for making beverages.

  This Class does not include, in particular:

      flavourings for beverages being essential oils (Cl. 3) or other than essential oils (Cl. 30);
      dietetic beverages adapted for medical purposes (Cl. 5);
      milk beverages with milk predominating, milk shakes (Cl. 29);
      milk substitutes, for example, almond milk, coconut milk, peanut milk, rice milk, soya milk (Cl. 29);
      lemon juice for culinary purposes, tomato juice for cooking (Cl. 29);
      beverages with coffee, cocoa, chocolate or tea base (Cl. 30);
      beverages for pets (Cl. 31);
      alcoholic beverages, except beer (Cl. 33).

  Class 33
  Alcoholic beverages, except beers;
  alcoholic preparations for making beverages.

  Explanatory note
  Class 33 includes mainly alcoholic beverages, essences and extracts.

  This Class includes, in particular:

      wines, fortified wines;
      alcoholic cider, perry;
      spirits, liqueurs;
      alcoholic essences, alcoholic fruit extracts, bitters.

  This Class does not include, in particular:

      medicinal beverages (Cl. 5);
      de-alcoholised beverages (Cl. 32);
      beers (Cl. 32);
      non-alcoholic mixers used to make alcoholic beverages, for example, soft drinks, soda water (Cl. 32).

  Class 34
  Tobacco and tobacco substitutes;
  cigarettes and cigars;
  electronic cigarettes and oral vaporizers for smokers;
  smokers’ articles;
  matches.

  Explanatory note
  Class 34 includes mainly tobacco and articles used for smoking, as well as certain accessories and containers related
  to their use.

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  This Class includes, in particular:

      tobacco substitutes, not for medical purposes;
      flavourings, other than essential oils, for use in electronic cigarettes, oral vaporizers for smokers;
      herbs for smoking;
      snuff;
      certain accessories and containers related to the use of tobacco and articles for smoking, for example, lighters for
      smokers, ashtrays for smokers, tobacco jars, snuff boxes, cigar humidors.

  This Class does not include, in particular:

      tobacco-free cigarettes for medical purposes (Cl. 5);
      batteries and chargers for electronic cigarettes (Cl. 9);
      ashtrays for automobiles (Cl. 12).

  Class 35
  Advertising;
  business management, organization and administration;
  office functions.

  Explanatory note
  Class 35 includes mainly services involving business management, operation, organization and administration of a
  commercial or industrial enterprise, as well as advertising, marketing and promotional services. For the purposes of
  classification, the sale of goods is not considered to be a service.

  This Class includes, in particular:

      the bringing together, for the benefit of others, of a variety of goods, excluding the transport thereof, enabling
      customers to conveniently view and purchase those goods; such services may be provided by retail stores,
      wholesale outlets, through vending machines, mail order catalogues or by means of electronic media, for
      example, through web sites or television shopping programmes;
      advertising, marketing and promotional services, for example, distribution of samples, development of advertising
      concepts, writing and publication of publicity texts;
      shop window dressing;
      public relations services;
      production of teleshopping programmes;
      organization of trade fairs and exhibitions for commercial or advertising purposes;
      search engine optimization for sales promotion;
      commercial assistance services, for example, personnel recruitment, negotiation of business contracts for others,
      cost price analysis, import-export agency services;
      administration services relating to business transactions and financial records, for example, book-keeping,
      drawing up of statements of accounts, business and financial auditing, business appraisals, tax preparation and
      filing services;
      commercial administration of the licensing of the goods and services of others;
      services consisting of the registration, transcription, composition, compilation or systematization of written
      communications and registrations, and also the compilation of mathematical or statistical data;



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      office functions, for example, appointment scheduling and reminder services, data search in computer files for
      others, computerized file management, telephone switchboard services.

  This Class does not include, in particular:

      financial services, for example, financial analysis, financial management, financial sponsorship (Cl. 36);
      real estate management (Cl. 36);
      stock brokerage services (Cl. 36);
      transportation logistics (Cl. 39);
      energy auditing (Cl. 42);
      graphic design of promotional materials (Cl. 42);
      legal services in relation to the negotiation of contracts for others (Cl. 45);
      licensing of intellectual property, legal administration of licences, copyright management (Cl. 45);
      registration of domain names (Cl. 45).

  Class 36
  Financial, monetary and banking services;
  insurance services;
  real estate affairs.

  Explanatory note
  Class 36 includes mainly services relating to banking and other financial transactions, financial valuation services, as
  well as insurance and real estate activities.

  This Class includes, in particular:

      financial transaction and payment services, for example, exchanging money, electronic funds transfer, processing
      of credit card and debit card payments, issuance of travellers’ cheques;
      financial management and research;
      financial appraisals, for example, jewellery, art and real estate appraisal, repair costs evaluation;
      cheque verification;
      financing and credit services, for example, loans, issuance of credit cards, hire- or lease-purchase financing;
      crowdfunding;
      safe deposit services;
      financial sponsorship;
      real estate agency services, real estate management, rental of apartments, rent collection;
      insurance underwriting, actuarial services;
      brokerage services, for example, securities, insurance and real estate brokerage, brokerage of carbon credits,
      pawnbrokerage.

  This Class does not include, in particular:

      administration services relating to business transactions and financial records, for example, book-keeping,
      drawing up of statements of accounts, business and financial auditing, business appraisals, tax preparation and
      filing services (Cl. 35);
      sponsorship search, promotion of goods and services through sponsorship of sports events (Cl. 35);
      cash replenishment of automated teller machines (Cl. 39);
      freight brokerage, transport brokerage (Cl. 39);

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      quality evaluation of wool and standing timber (Cl. 42).

  Class 37
  Construction services;
  installation and repair services;
  mining extraction, oil and gas drilling.

  Explanatory note
  Class 37 includes mainly services in the field of construction, as well as services involving the restoration of objects to
  their original condition or their preservation without altering their physical or chemical properties.

  This Class includes, in particular:

      construction and demolition of buildings, roads, bridges, dams or transmission lines, as well as services in the field
      of construction, for example, interior and exterior painting, plastering, plumbing, heating equipment
      installation, and roofing;
      shipbuilding;
      rental of construction tools, machines and equipment, for example, rental of bulldozers, rental of cranes;
      various repair services, for example, those in the fields of electricity, computer hardware, furniture, instruments,
      tools;
      various restoration services, for example, building restoration, furniture restoration and restoration of works of art;
      maintenance services for preserving an object in its original condition without changing any of its properties, for
      example, furniture maintenance, vehicle maintenance, swimming-pool maintenance and maintenance of
      computer hardware;
      cleaning of different objects, for example, windows, vehicles, clothing, as well as the laundering and pressing of
      clothing.

  This Class does not include, in particular:

      physical storage of goods (Cl. 39);
      transformation of an object or substance that involves a process of change in its essential properties, for example,
      the cutting, dyeing, fireproofing of cloth (Cl. 40), the casting, plating, treating of metal (Cl. 40), custom tailoring,
      dressmaking, embroidering (Cl. 40), food and drink preservation (Cl. 40);
      installation, maintenance and updating of computer software (Cl. 42), creation and hosting of web sites (Cl. 42);
      construction drafting and architectural services (Cl. 42).

  Class 38
  Telecommunications services.

  Explanatory note
  Class 38 includes mainly services that allow at least one party to communicate with another, as well as services for
  the broadcasting and transmission of data.

  This Class includes, in particular:

      transmission of digital files and electronic mail;
      providing user access to global computer networks;
      radio and television broadcasting;

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      video-on-demand transmission;
      providing internet chatrooms and online forums;
      telephone and voice mail services;
      teleconferencing and videoconferencing services.

  This Class does not include, in particular:

      radio advertising (Cl. 35);
      telemarketing services (Cl. 35);
      content or subject matter that may be contained in the communication activity, for example, downloadable image
      files (Cl. 9), providing business information via a web site (Cl. 35), providing films and television programmes, not
      downloadable, via video-on-demand services (Cl. 41);
      services conducted using telecommunication connections, for example, online retail services for downloadable
      digital music (Cl. 35), online banking (Cl. 36);
      production of radio and television programmes (Cl. 41);
      telecommunications technology consultancy (Cl. 42);
      online social networking services (Cl. 45).

  Class 39
  Transport;
  packaging and storage of goods;
  travel arrangement.

  Explanatory note
  Class 39 includes mainly services for the transport of people, animals or goods from one place to another by rail,
  road, water, air or pipeline and services necessarily connected with such transport, as well as the storing of goods in
  any kind of storage facility, warehouses or other types of building for their preservation or guarding.

  This Class includes, in particular:

      operation of stations, bridges, railways, ferries and other transport facilities;
      rental of vehicles for transportation, as well as chauffeuring and piloting services;
      rental services related to transport, storage and travel, for example, parking place rental, garage rental, rental of
      storage containers;
      operation of maritime tugs, unloading, operation of ports and docks, and salvaging of wrecked ships and their
      cargoes;
      packaging, bottling, wrapping and delivering of goods;
      replenishing vending machines and automated teller machines;
      services for providing information about journeys or the transport of goods by brokers and tourist agencies, as
      well as for providing information relating to tariffs, timetables and methods of transport;
      inspection of vehicles or goods for the purpose of transport;
      distribution of energy and electricity, as well as distribution and supply of water.

  This Class does not include, in particular:

      advertising travel or transport (Cl. 35);
      insurance services during the transport of people or goods (Cl. 36);
      maintenance and repair of vehicles or other items connected with the transport of people or goods (Cl. 37);

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      conducting guided tours (Cl. 41);
      electronic data storage (Cl. 42);
      reservation of hotel rooms or other temporary accommodation by travel agents or brokers (Cl. 43).

  Class 40
  Treatment of materials;
  recycling of waste and trash;
  air purification and treatment of water;
  printing services;
  food and drink preservation.

  Explanatory note
  Class 40 includes mainly services rendered by the mechanical or chemical processing, transformation or production
  of objects or inorganic or organic substances, including custom manufacturing services. For the purposes of
  classification, the production or manufacturing of goods is considered a service only in cases where it is effected for
  the account of another person to their order and specification. If the production or manufacturing is not being
  performed to fulfil an order for goods which meet the customer’s particular needs, requirements, or specifications,
  then it is generally ancillary to the maker’s primary commercial activity or goods in trade. If the substance or object
  is marketed to third parties by the person who processed, transformed or produced it, then this would generally not
  be considered a service.

  This Class includes, in particular:

      transformation of an object or substance and any process involving a change in its essential properties, for
      example, dyeing a garment; such transformation services are also classified in Class 40 if they are provided in the
      framework of repair or maintenance work, for example, chromium plating of motor vehicle bumpers;
      services of material treatment which may be present during the production of any substance or object other than
      a building, for example, services which involve cutting, shaping, polishing by abrasion or metal coating;
      joining of materials, for example, soldering or welding;
      processing and treatment of foodstuffs, for example, fruit crushing, flour milling, food and drink preservation,
      food smoking, freezing of foods;
      custom manufacturing of goods to the order and specification of others (bearing in mind that certain offices
      require that the goods produced be indicated), for example, custom manufacturing of automobiles;
      services of a dental technician;
      quilting, embroidering, custom tailoring, textile dyeing, applying finishes to textiles.

  This Class does not include, in particular:

      services that do not entail a change in the essential properties of the object or substance, for example, furniture
      maintenance or repair (Cl. 37);
      services in the field of construction, for example, painting and plastering (Cl. 37);
      cleaning services, for example, laundering, window cleaning, cleaning of interior and exterior surfaces of buildings
      (Cl. 37);
      rustproofing, for example, anti-rust treatment for vehicles (Cl. 37);
      certain customization services, for example, the custom painting of automobiles (Cl. 37);
      decorating of food, food sculpting (Cl. 43).

  Class 41
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  Education;
  providing of training;
  entertainment;
  sporting and cultural activities.

  Explanatory note
  Class 41 includes mainly services consisting of all forms of education or training, services having the basic aim of the
  entertainment, amusement or recreation of people, as well as the presentation of works of visual art or literature to
  the public for cultural or educational purposes.

  This Class includes, in particular:

      organization of exhibitions for cultural or educational purposes, arranging and conducting of conferences,
      congresses and symposiums;
      translation and language interpretation services;
      publication of books and texts, other than publicity texts;
      news reporters services, photographic reporting;
      photography;
      film direction and production services, other than for advertising films;
      cultural, educational or entertainment services provided by amusement parks, circuses, zoos, art galleries and
      museums;
      sports and fitness training services;
      training of animals;
      online gaming services;
      gambling services, organization of lotteries;
      ticket reservation and booking services for entertainment, educational and sporting events;
      certain writing services, for example, screenplay writing, songwriting.

  This Class does not include, in particular:

      organization of exhibitions for commercial or advertising purposes (Cl. 35);
      writing and publication of publicity texts (Cl. 35);
      news agency services (Cl. 38);
      radio and television broadcasting (Cl. 38);
      videoconferencing services (Cl. 38);
      technical writing (Cl. 42);
      day nursery and crèche services (Cl. 43);
      health spa services (Cl. 44);
      planning and arranging wedding ceremonies (Cl. 45).

  Class 42
  Scientific and technological services and research and design relating thereto;
  industrial analysis, industrial research and industrial design services;
  quality control and authentication services;
  design and development of computer hardware and software.

  Explanatory note

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  Class 42 includes mainly services provided by persons in relation to the theoretical and practical aspects of complex
  fields of activities, for example, scientific laboratory services, engineering, computer programming, architectural
  services or interior design.

  This Class includes, in particular:

      services of engineers and scientists who undertake evaluations, estimates, research and reports in the scientific
      and technological fields, including technological consultancy;
      computer and technology services for securing computer data and personal and financial information and for the
      detection of unauthorized access to data and information, for example, computer virus protection services, data
      encryption services, electronic monitoring of personally identifying information to detect identity theft via the
      internet;
      software as a service (SaaS), platform as a service (PaaS);
      scientific research services for medical purposes;
      architectural and urban planning services;
      certain design services, for example, industrial design, design of computer software and systems, interior design,
      packaging design, graphic arts design, dress designing;
      surveying;
      oil, gas and mining exploration services.

  This Class does not include, in particular:

      certain research services, for example, business research (Cl. 35), marketing research (Cl. 35), financial research (Cl.
      36), genealogical research (Cl. 45), legal research (Cl. 45);
      business auditing (Cl. 35);
      computer file management services (Cl. 35);
      financial evaluation services (Cl. 36);
      mining extraction, oil and gas drilling (Cl. 37);
      installation, maintenance and repair of computer hardware (Cl. 37);
      sound engineering services (Cl. 41);
      certain design services, for example, landscape design (Cl. 44);
      medical and veterinary services (Cl. 44);
      legal services (Cl. 45).

  Class 43
  Services for providing food and drink;
  temporary accommodation.

  Explanatory note
  Class 43 includes mainly services provided in relation to the preparation of food and drink for consumption, as well
  as services for providing temporary accommodation.

  This Class includes, in particular:

      temporary accommodation reservations, for example, hotel reservations;
      boarding for animals;
      rental of meeting rooms, tents and transportable buildings;
      retirement home services;

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                                  NICE CLASSIFICATION - 11th Edition, Version 2021


Class 12

Vehicles; apparatus for locomotion by land, air or water.

Explanatory Note

Class 12 includes mainly vehicles and apparatus for the transport of people or goods by land, air or water.

This Class includes, in particular:
  - motors and engines for land vehicles;
  - couplings and transmission components for land vehicles;
  - air cushion vehicles;
  - remote control vehicles, other than toys;
  - parts of vehicles, for example, bumpers, windscreens, steering wheels, tyres for vehicle wheels, as well as treads for vehicles.

This Class does not include, in particular:
  - railway material of metal (Cl. 6);
  - motors, engines, couplings and transmission components, other than for land vehicles (Cl. 7);
  - parts of all kinds of motors and engines, for example, starters, mufflers and cylinders for motors and engines (Cl. 7);
  - rubber tracks being parts of crawlers on construction, mining, agricultural and other heavy-duty machines (Cl. 7);
  - tricycles for infants and scooters, being toys (Cl. 28);
  - certain special vehicles or wheeled apparatus not for transportation purposes, for example, self-propelled road sweeping
   machines (Cl. 7), fire engines (Cl. 9), tea carts (Cl. 20);
  - certain parts of vehicles, for example, electric batteries, mileage recorders and radios for vehicles (Cl. 9), lights for automobiles
   and bicycles (Cl. 11), automobile carpets (Cl. 27).



Basic No.        Indication

 120194           adhesive rubber patches for repairing inner tubes

 120004           aerial conveyors

 120203           aeronautical apparatus, machines and appliances

 120027           aeroplanes

 120247           air bags [safety devices for automobiles]

 120237           air cushion vehicles

 120009           air pumps [vehicle accessories]

 120005           air vehicles

 120184           aircraft

 120030           airships / dirigible balloons

 120327           all-terrain vehicles

 120233           ambulances

 120012           amphibious airplanes

 120326           amphibious vehicles




                                                               Class 12 - Page 1




                                                                                                                           TROJAN EV001976
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120204    anti-glare devices for vehicles* / anti-dazzle devices for vehicles*

120014    anti-skid chains

120211    anti-theft alarms for vehicles

120200    anti-theft devices for vehicles

120271    armoured vehicles / armored vehicles

120282    ashtrays for automobiles

120207    automobile bodies

120024    automobile chains

120025    automobile chassis

120023    automobile hoods

120206    automobile tyres / automobile tires

120295    autonomous underwater vehicles for seabed inspections

120120    axle journals

120119    axles for vehicles

120293    bags adapted for pushchairs / bags adapted for strollers

120116    balance weights for vehicle wheels

120127    bands for wheel hubs

120063    barges

120248    baskets adapted for bicycles

120296    bellows for articulated buses

120269    bicycle bells

120086    bicycle brakes

120061    bicycle chains

120089    bicycle cranks

120221    bicycle frames

120080    bicycle handlebars

120046    bicycle kickstands

120090    bicycle motors

120087    bicycle mudguards

120092    bicycle pedals

120096    bicycle saddles




                                                   Class 12 - Page 2




                                                                                 TROJAN EV001977
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120310    bicycle trailers

120084    bicycle tyres / bicycle tires

120095    bicycle wheels

120044    bicycles

120297    electric bicycles

120036    boat hooks

120021    boats

120222    bodies for vehicles

120047    bogies for railway cars

120267    brake discs for vehicles

120215    brake linings for vehicles

120263    brake pads for automobiles

120236    brake segments for vehicles

120216    brake shoes for vehicles

120126    brakes for vehicles

120078    buffers for railway rolling stock

120209    bumpers for automobiles

120188    cable transport apparatus and installations

120052    caissons [vehicles]

120301    camera drones / photography drones

120249    camping cars / motor homes

120274    canoes

120241    caps for vehicle fuel tanks

120056    caravans

120199    cars / automobiles / motor cars

120051    cars for cable transport installations

120219    carts*

120114    casings for pneumatic tyres / casings for pneumatic tires

120250    casters for trolleys [vehicles] / casters for carts [vehicles]

120067    casting carriages / casting cars / ladle carriages / ladle cars

120180    chairlifts




                                                    Class 12 - Page 3




                                                                            TROJAN EV001978
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                         NICE CLASSIFICATION - 11th Edition, Version 2021


120266    cigar lighters for automobiles

120079    hydraulic circuits for vehicles

120275    civilian drones

120251    cleaning trolleys

120179    cleats [nautical]

120305    clips adapted for fastening automobile parts to automobile bodies

120111    clutches for land vehicles

120213    concrete mixing vehicles

120242    connecting rods for land vehicles, other than parts of motors and engines

120003    couplings for land vehicles

120260    covers for vehicle steering wheels

120058    crankcases for land vehicle components, other than for engines

120323    cup holders for vehicles

120048    davits for boats

120313    delivery drones

120162    delivery tricycles / carrier tricycles

120172    dining carriages / dining cars

120038    disengaging gear for boats

120322    diving bells

120160    doors for vehicles

120105    dredgers [boats]

120122    dress guards for bicycles

120279    driverless cars [autonomous cars] / self-driving cars

120225    driving chains for land vehicles

120139    driving motors for land vehicles

120223    ejector seats for aircraft

120272    engine mounts for land vehicles

120130    engines for land vehicles / motors for land vehicles

120252    fenders for ships

120028    ferry boats

120302    fishing trolleys




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                                                                                      TROJAN EV001979
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                            NICE CLASSIFICATION - 11th Edition, Version 2021


120033    flanges for railway wheel tyres / flanges for railway wheel tires

120290    fitted footmuffs for prams / fitted footmuffs for baby carriages

120291    fitted footmuffs for pushchairs / fitted footmuffs for strollers

120001    forklift trucks

120148    freewheels for land vehicles

120189    funiculars

120229    funnels for locomotives

120073    funnels for ships

120217    gear boxes for land vehicles

120103    gearing for land vehicles

120085    gears for bicycles

120068    golf carts [vehicles] / golf cars [vehicles]

120315    gyrocopters

120106    handcars

120065    handling carts

120015    head-rests for vehicle seats

120262    headlight wipers

120314    helicams

120316    helicopters

120054    hoods for vehicle engines

120055    hoods for vehicles

120212    horns for vehicles

120325    horse-drawn carriages

120066    hose carts

120006    hot air balloons

120124    hub caps

120091    hubs for bicycle wheels / bicycle wheel hubs

120060    hubs for vehicle wheels / vehicle wheel hubs

120135    hydroplanes

120039    inclined ways for boats

120145    jet engines for land vehicles




                                                     Class 12 - Page 5




                                                                               TROJAN EV001980
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                         NICE CLASSIFICATION - 11th Edition, Version 2021


120253    kick sledges

120064    launches

120138    locomotives

120022    lorries / trucks

120304    lug nuts for vehicle wheels

120029    luggage carriers for vehicles

120123    luggage nets for vehicles

120259    masts for boats

120273    military drones

120144    military vehicles for transport

120076    mine cars

120043    mine cart wheels

120281    mobility scooters

120196    mopeds

120018    motor buses

120019    motor coaches

120299    motor racing cars

120280    motor scooters

120283    motorcycle chains

120286    motorcycle engines

120284    motorcycle frames

120285    motorcycle handlebars

120097    motorcycle kickstands

120175    motorcycle saddles

120147    motorcycles

120109    motors, electric, for land vehicles

120049    mudguards

120013    non-skid devices for vehicle tyres / non-skid devices for vehicle tires

120041    oars

120153    paddles for canoes

120254    panniers adapted for bicycles




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                                                                                    TROJAN EV001981
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                          NICE CLASSIFICATION - 11th Edition, Version 2021


120287    panniers adapted for motorcycles

120113    parachutes

120311    pet strollers

120159    pontoons

120133    portholes

120289    prams / baby carriages

120143    propulsion mechanisms for land vehicles

120093    pumps for bicycle tyres / pumps for bicycle tires

120258    push scooters [vehicles]

120277    fitted pushchair mosquito nets / fitted stroller mosquito nets

120164    pushchair covers / stroller covers

120165    pushchair hoods / stroller hoods

120163    pushchairs / strollers

120140    railway carriages

120002    railway couplings

120173    rearview mirrors

120235    reduction gears for land vehicles

120129    refrigerated railway wagons

120128    refrigerated vehicles

120257    remote control vehicles, other than toys

120294    remotely operated vehicles for underwater inspections

120008    repair outfits for inner tubes

120306    rescue sleds

120026    reversing alarms for vehicles

120088    rims for bicycle wheels / bicycle wheel rims

120174    rims for vehicle wheels / vehicle wheel rims

120300    robotic cars

120303    roll cage trolleys

120071    rolling stock for funicular railways

120072    rolling stock for railways

120182    rowlocks / oarlocks




                                                     Class 12 - Page 7




                                                                             TROJAN EV001982
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                          NICE CLASSIFICATION - 11th Edition, Version 2021


120308    rubbish trucks / garbage trucks

120070    rudders

120232    saddle covers for bicycles

120298    saddle covers for motorcycles

120268    saddlebags adapted for bicycles

120059    safety belts for vehicle seats

120112    safety seats for children, for vehicles

120166    screw-propellers

120040    screw-propellers for boats

120151    screws [propellers] for ships

120131    sculls / stern oars

120134    seaplanes

120132    seat covers for vehicles

120244    security harness for vehicle seats

120318    self-balancing boards

120319    self-balancing electric unicycles

120317    self-balancing scooters

120035    ship hulls

120150    ships

120210    shock absorbers for automobiles

120011    shock absorbing springs for vehicles

120255    shopping trolleys / shopping carts

120176    side cars

120276    side view mirrors for vehicles

120228    signal arms for vehicles

120161    ski carriers for cars

120170    ski lifts

120081    sleeping berths for vehicles

120136    sleeping cars

120186    sleighs [vehicles]

120256    snowmobiles




                                                    Class 12 - Page 8




                                                                             TROJAN EV001983
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120288    solid tyres for vehicle wheels / solid tires for vehicle wheels

120117    space vehicles

120264    spare wheel covers / spare tire covers / spare tyre covers

120118    spars for ships

120155    spikes for tyres / spikes for tires

120261    spoilers for vehicles

120169    spoke clips for wheels

120094    spokes for bicycle wheels / bicycle wheel spokes

120178    sports cars

120016    sprinkling trucks

120037    steering gears for ships

120230    steering wheels for vehicles

120245    sun-blinds adapted for automobiles

120010    suspension shock absorbers for vehicles

          tailboard lifts [parts of land vehicles] / elevating tailgates [parts of land vehicles] / power tailgates [parts of land
120243
          vehicles]

120190    telpher railways [cable cars] / cable cars

120265    tilt trucks

120183    tilting-carts

120082    timbers [frames] for ships

120201    tipping apparatus [parts of railway wagons]

120042    tipping bodies for lorries / tipping bodies for trucks

120227    torque converters for land vehicles

120034    torsion bars for vehicles

120307    tow trucks / wreckers for transport

120075    tractors

120017    trailer hitches for vehicles

120057    trailers [vehicles]

120309    trailers for transporting bicycles

120187    tramcars

120226    transmission chains for land vehicles




                                                    Class 12 - Page 9




                                                                                                                     TROJAN EV001984
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                          NICE CLASSIFICATION - 11th Edition, Version 2021


120246    transmission shafts for land vehicles

120142    transmissions for land vehicles

120156    treads for retreading tyres / treads for retreading tires

120074    treads for vehicles [tractor type] / treads for vehicles [roller belts]

120191    tricycles

120324    trolleys*

120312    trucks with a crane feature incorporated

120234    tubeless tyres for bicycles / tubeless tires for bicycles

120214    inner tubes for bicycle tyres / inner tubes for bicycle tires

120007    inner tubes for pneumatic tyres / inner tubes for pneumatic tires

120192    turbines for land vehicles

120050    two-wheeled trolleys / luggage trucks / sack-barrows

120292    tyre mousse inserts / tire mousse inserts

120157    pneumatic tyres / pneumatic tires

120321    tyres for snow ploughs / tires for snow ploughs

120031    tyres for vehicle wheels / tires for vehicle wheels

120185    undercarriages for vehicles

120195    upholstery for vehicles

120032    valves for vehicle tyres / valves for vehicle tires

120125    vans [vehicles]

120320    vehicle bonnet pins / vehicle hood pins

120077    vehicle bumpers

120069    vehicle chassis

120224    vehicle covers [shaped]

120278    vehicle joysticks

120141    vehicle running boards

120177    vehicle seats

120171    vehicle suspension springs

120168    vehicle wheel spokes

120053    vehicle wheels

120110    electric vehicles




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                                                                                    TROJAN EV001985
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                         NICE CLASSIFICATION - 11th Edition, Version 2021


120193    vehicles for locomotion by land, air, water or rail

120149    water vehicles

120218    wheelbarrows

120062    wheelchairs

120198    windows for vehicles

120154    windscreens / windshields

120121    windshield wipers / windscreen wipers

120202    yachts




                                                   Class 12 - Page 11




                                                                            TROJAN EV001986
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                           EXHIBIT 4
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                                  NICE CLASSIFICATION - 11th Edition, Version 2022


Class 12

Vehicles; apparatus for locomotion by land, air or water.

Explanatory Note

Class 12 includes mainly vehicles and apparatus for the transport of people or goods by land, air or water.

This Class includes, in particular:
  - motors and engines for land vehicles;
  - couplings and transmission components for land vehicles;
  - air cushion vehicles;
  - remote control vehicles, other than toys;
  - parts of vehicles, for example, bumpers, windscreens, steering wheels;
  - treads for vehicles, as well as tyres for all kinds of vehicle wheels.

This Class does not include, in particular:
  - railway material of metal (Cl. 6);
  - motors, engines, couplings and transmission components, other than for land vehicles (Cl. 7);
  - parts of all kinds of motors and engines, for example, starters, mufflers and cylinders for motors and engines (Cl. 7);
  - rubber tracks being parts of crawlers on construction, mining, agricultural and other heavy-duty machines (Cl. 7);
  - tricycles for infants and scooters, being toys (Cl. 28);
  - certain special vehicles or wheeled apparatus not for transportation purposes, for example, self-propelled road sweeping
   machines (Cl. 7), fire engines (Cl. 9), tea carts (Cl. 20);
  - certain parts of vehicles, for example, electric batteries, mileage recorders and radios for vehicles (Cl. 9), lights for automobiles
   and bicycles (Cl. 11), automobile carpets (Cl. 27).



Basic No.        Indication

 120194           adhesive rubber patches for repairing inner tubes

 120004           aerial conveyors

 120203           aeronautical apparatus, machines and appliances

 120027           aeroplanes

 120247           air bags [safety devices for automobiles]

 120237           air cushion vehicles

 120009           air pumps [vehicle accessories]

 120005           air vehicles

 120184           aircraft

 120030           airships / dirigible balloons

 120327           all-terrain vehicles

 120233           ambulances

 120012           amphibious airplanes




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                                                                                                                           TROJAN EV001987
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                          NICE CLASSIFICATION - 11th Edition, Version 2022


120326    amphibious vehicles

120204    anti-glare devices for vehicles* / anti-dazzle devices for vehicles*

120014    anti-skid chains

120211    anti-theft alarms for vehicles

120200    anti-theft devices for vehicles

120271    armoured vehicles / armored vehicles

120282    ashtrays for automobiles

120207    automobile bodies

120025    automobile chassis

120023    automobile hoods

120206    automobile tyres / automobile tires

120295    autonomous underwater vehicles for seabed inspections

120120    axle journals

120119    axles for vehicles

120293    bags adapted for pushchairs / bags adapted for strollers

120116    balance weights for vehicle wheels

120127    bands for wheel hubs

120063    barges

120248    baskets adapted for bicycles

120296    bellows for articulated buses

120269    bicycle bells

120086    bicycle brakes

120061    bicycle chains

120089    bicycle cranks

120221    bicycle frames

120080    bicycle handlebars

120046    bicycle kickstands

120090    bicycle motors

120087    bicycle mudguards

120092    bicycle pedals

120096    bicycle saddles




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                                                                                 TROJAN EV001988
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                         NICE CLASSIFICATION - 11th Edition, Version 2022


120310    bicycle trailers

120084    bicycle tyres / bicycle tires

120095    bicycle wheels

120044    bicycles

120297    electric bicycles

120036    boat hooks

120021    boats

120222    bodies for vehicles

120047    bogies for railway cars

120267    brake discs for vehicles

120215    brake linings for vehicles

120263    brake pads for automobiles

120236    brake segments for vehicles

120216    brake shoes for vehicles

120126    brakes for vehicles

120078    buffers for railway rolling stock

120209    bumpers for automobiles

120188    cable transport apparatus and installations

120052    caissons [vehicles]

120301    camera drones / photography drones

120249    camping cars / motor homes

120274    canoes

120241    caps for vehicle fuel tanks

120056    caravans

120199    cars / automobiles / motor cars

120051    cars for cable transport installations

120219    carts*

120114    casings for pneumatic tyres / casings for pneumatic tires

120250    casters for trolleys [vehicles] / casters for carts [vehicles]

120067    casting carriages / casting cars / ladle carriages / ladle cars

120180    chairlifts




                                                    Class 12 - Page 3




                                                                            TROJAN EV001989
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                         NICE CLASSIFICATION - 11th Edition, Version 2022


120266    cigar lighters for automobiles

120079    hydraulic circuits for vehicles

120275    civilian drones

120251    cleaning trolleys

120179    cleats [nautical]

120305    clips adapted for fastening automobile parts to automobile bodies

120111    clutches for land vehicles

120213    concrete mixing vehicles

120242    connecting rods for land vehicles, other than parts of motors and engines

120003    couplings for land vehicles

120260    covers for vehicle steering wheels

120058    crankcases for land vehicle components, other than for engines

120323    cup holders for vehicles

120048    davits for boats

120313    delivery drones

120162    delivery tricycles / carrier tricycles

120172    dining carriages / dining cars

120038    disengaging gear for boats

120322    diving bells

120160    doors for vehicles

120105    dredgers [boats]

120122    dress guards for bicycles

120225    drive chains for land vehicles

120279    driverless cars [autonomous cars] / self-driving cars

120139    driving motors for land vehicles

120223    ejector seats for aircraft

120272    engine mounts for land vehicles

120130    engines for land vehicles / motors for land vehicles

120252    fenders for ships

120028    ferry boats

120302    fishing trolleys




                                                   Class 12 - Page 4




                                                                                      TROJAN EV001990
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                            NICE CLASSIFICATION - 11th Edition, Version 2022


120334    fitted dashboard covers for vehicles

120033    flanges for railway wheel tyres / flanges for railway wheel tires

120290    fitted footmuffs for prams / fitted footmuffs for baby carriages

120291    fitted footmuffs for pushchairs / fitted footmuffs for strollers

120001    forklift trucks

120148    freewheels for land vehicles

120189    funiculars

120229    funnels for locomotives

120073    funnels for ships

120217    gear boxes for land vehicles

120103    gearing for land vehicles

120085    gears for bicycles

120068    golf carts [vehicles] / golf cars [vehicles]

120315    gyrocopters

120106    handcars

120065    handling carts

120015    head-rests for vehicle seats

120262    headlight wipers

120314    helicams

120316    helicopters

120054    hoods for vehicle engines

120055    hoods for vehicles

120212    horns for vehicles

120325    horse-drawn carriages

120066    hose carts

120006    hot air balloons

120124    hub caps

120091    hubs for bicycle wheels / bicycle wheel hubs

120060    hubs for vehicle wheels / vehicle wheel hubs

120328    hydrogen-fueled cars

120135    hydroplanes




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                                                                               TROJAN EV001991
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                         NICE CLASSIFICATION - 11th Edition, Version 2022


120039    inclined ways for boats

120145    jet engines for land vehicles

120253    kick sledges

120142    transmission mechanisms for land vehicles

120064    launches

120138    locomotives

120022    lorries / trucks

120304    lug nuts for vehicle wheels

120029    luggage carriers for vehicles

120123    luggage nets for vehicles

120259    masts for boats

120273    military drones

120144    military vehicles for transport

120076    mine cars

120043    mine cart wheels

120281    mobility scooters

120196    mopeds

120018    motor buses

120019    motor coaches

120299    motor racing cars

120280    motor scooters

120283    motorcycle chains

120286    motorcycle engines

120284    motorcycle frames

120285    motorcycle handlebars

120097    motorcycle kickstands

120175    motorcycle saddles

120147    motorcycles

120109    motors, electric, for land vehicles

120049    mudguards

120013    non-skid devices for vehicle tyres / non-skid devices for vehicle tires




                                                  Class 12 - Page 6




                                                                                    TROJAN EV001992
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                          NICE CLASSIFICATION - 11th Edition, Version 2022


120041    oars

120153    paddles for canoes

120254    panniers adapted for bicycles

120287    panniers adapted for motorcycles

120113    parachutes

120311    pet strollers

120336    pneumatic or hydraulic linear actuators for land vehicles

120159    pontoons

120133    portholes

120289    prams / baby carriages

120143    propulsion mechanisms for land vehicles

120331    pulks for transportation

120093    pumps for bicycle tyres / pumps for bicycle tires

120258    push scooters [vehicles]

120277    fitted pushchair mosquito nets / fitted stroller mosquito nets

120164    pushchair covers / stroller covers

120165    pushchair hoods / stroller hoods

120163    pushchairs / strollers

120140    railway carriages

120002    railway couplings

120173    rearview mirrors

120235    reduction gears for land vehicles

120129    refrigerated railway wagons

120128    refrigerated vehicles

120257    remote control vehicles, other than toys

120294    remotely operated vehicles for underwater inspections

120008    repair outfits for inner tubes

120306    rescue sleds

120332    rescue boats

120026    reversing alarms for vehicles

120088    rims for bicycle wheels / bicycle wheel rims




                                                     Class 12 - Page 7




                                                                             TROJAN EV001993
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                         NICE CLASSIFICATION - 11th Edition, Version 2022


120174    rims for vehicle wheels / vehicle wheel rims

120300    robotic cars

120303    roll cage trolleys

120071    rolling stock for funicular railways

120072    rolling stock for railways

120182    rowlocks / oarlocks

120308    rubbish trucks / garbage trucks

120070    rudders

120232    saddle covers for bicycles

120298    saddle covers for motorcycles

120268    saddlebags adapted for bicycles

120059    safety belts for vehicle seats

120112    safety seats for children, for vehicles

120166    screw-propellers

120040    screw-propellers for boats

120151    screws [propellers] for ships

120131    sculls / stern oars

120134    seaplanes

120132    seat covers for vehicles

120244    security harness for vehicle seats

120318    self-balancing boards

120319    self-balancing electric unicycles

120317    self-balancing scooters

120335    self-driving robots for delivery

120035    ship hulls

120150    ships

120210    shock absorbers for automobiles

120011    shock absorbing springs for vehicles

120255    shopping trolleys / shopping carts

120176    side cars

120276    side view mirrors for vehicles




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                                                                            TROJAN EV001994
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                          NICE CLASSIFICATION - 11th Edition, Version 2022


120228    signal arms for vehicles

120161    ski carriers for cars

120170    ski lifts

120081    sleeping berths for vehicles

120136    sleeping cars

120186    sleighs [vehicles]

120333    snow-going vehicles

120256    snowmobiles

120288    solid tyres for vehicle wheels / solid tires for vehicle wheels

120117    space vehicles

120264    spare wheel covers / spare tire covers / spare tyre covers

120118    spars for ships

120155    spikes for tyres / spikes for tires / studs for tires / studs for tyres

120261    spoilers for vehicles

120169    spoke clips for wheels

120094    spokes for bicycle wheels / bicycle wheel spokes

120178    sports cars

120016    sprinkling trucks

120037    steering gears for ships

120230    steering wheels for vehicles

120337    straddle carriers

120245    sun-blinds adapted for automobiles

120330    surveillance towers specially adapted for vehicles

120010    suspension shock absorbers for vehicles

120338    swamp-going vehicles

          tailboard lifts [parts of land vehicles] / elevating tailgates [parts of land vehicles] / power tailgates [parts of land
120243
          vehicles]

120190    telpher railways [cable cars] / cable cars

120265    tilt trucks

120183    tilting-carts

120082    timbers [frames] for ships




                                                      Class 12 - Page 9




                                                                                                                     TROJAN EV001995
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                         NICE CLASSIFICATION - 11th Edition, Version 2022


120201    tipping apparatus [parts of railway wagons]

120042    tipping bodies for lorries / tipping bodies for trucks

120227    torque converters for land vehicles

120034    torsion bars for vehicles

120307    tow trucks / wreckers for transport

120075    tractors

120017    trailer hitches for vehicles

120057    trailers [vehicles]

120309    trailers for transporting bicycles

120187    tramcars

120226    transmission chains for land vehicles

120246    transmission shafts for land vehicles

120156    treads for retreading tyres / treads for retreading tires

120074    treads for vehicles [tractor type] / treads for vehicles [roller belts]

120191    tricycles

120324    trolleys*

120312    trucks with a crane feature incorporated

120234    tubeless tyres for bicycles / tubeless tires for bicycles

120214    inner tubes for bicycle tyres / inner tubes for bicycle tires

120007    inner tubes for pneumatic tyres / inner tubes for pneumatic tires

120192    turbines for land vehicles

120050    two-wheeled trolleys / luggage trucks / sack-barrows

120292    tyre mousse inserts / tire mousse inserts

120157    pneumatic tyres / pneumatic tires

120321    tyres for snow ploughs / tires for snow ploughs

120031    tyres for vehicle wheels / tires for vehicle wheels

120185    undercarriages for vehicles

120195    upholstery for vehicles

120032    valves for vehicle tyres / valves for vehicle tires

120125    vans [vehicles]

120320    vehicle bonnet pins / vehicle hood pins




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                                                                                    TROJAN EV001996
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                          NICE CLASSIFICATION - 11th Edition, Version 2022


120077    vehicle bumpers

120069    vehicle chassis

120224    vehicle covers [shaped]

120278    vehicle joysticks

120141    vehicle running boards

120177    vehicle seats

120171    vehicle suspension springs

120168    vehicle wheel spokes

120053    vehicle wheels

120110    electric vehicles

120193    vehicles for locomotion by land, air, water or rail

120329    water scooters [personal watercraft]

120149    water vehicles

120218    wheelbarrows

120062    wheelchairs

120198    windows for vehicles

120154    windscreens / windshields

120121    windshield wipers / windscreen wipers

120202    yachts




                                                   Class 12 - Page 11




                                                                             TROJAN EV001997
